UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

x pr oT
ISRAEL PEREZ, MAGDALENO ESTRADA PS
ESCAMILLA, on behalf of themselves and all US Dieikict lee GY,
other Mexican/Chicano Day Laborers and/or ge an
Latino Day Laborers similarly situated, * AN US #05 *
Plaintiffs
LONG ISLAND OFFICE
DEFENDANT’S
MEMORANDUM OF
LAW IN OPPOSITION
TO PLAINTIFF’S
MOTION FOR
SUMMARY
JUDGMENT
CHRISTOPHER SLAVIN AND
RYAN WAGNER, Index #: CV-6201 STF
Defendants.
x C1 VG |
OPENING REMARKS

In this case the Court is called upon to determine a variety of complicated indeed
intriguing issues, some of which are constitutional in dimension. And, while the Defendant,
Christopher Slavin has admittedly been convicted of various crimes this Court will, based upon a
full fleshing out of the pertinent authority and disclosure of the facts, easily conclude that
Plaintiffs have not met their burden insofar as that which is necessary to entitle them to the
drastic remedy they seek. Infirmities, ranging from the lack of real “identity of issues”, to

significant questions vis a vis the fairness of the proceeding that led to the Defendant’s

conviction, make clear that Plaintiffs’ summary judgment application is, at best, strained.
Equally true, is that a straight forward application of the law surrounding Summary Judgment
(and Rule 56) to the Complaint filed herein, tips the balance decidedly in favor of Defendant’s

due process right to a trial on the merits. Then, of course, there are the questions raised by the

1

Defendants’ counter-claims. This Court will also see that there exists in this matter a disturbing
reality, that being, the forensic and scientifically established facts proven at the Defendants
criminal trial flatly and unequivocally contradict the testimony of the two Plaintiffs given at the
same proceeding. Defendant asserts that as a result of the manifest incongruities existing
between the testimony of the Plaintiffs and the facts established by empirical and scientific
methods, only one conclusion can be drawn; that the Plaintiffs, for reasons of their own and not
disclosed at trial, lied or otherwise misrepresented the events that transpired on September 21,
2000. Defendant contends that as the result of the intellectually disingenuous statements made
by the Plaintiffs, when taken together with the flood of impermissible and inflammatory
evidence, substantial questions of fact are raised that not only require a denial of Plaintiffs
motion, but a trial on Defendant’s counter-claims.

Finally, whenever this case is, even casually, discussed there is the almost concomitant
reference to tattoos. This action is no different. As this Court will learn first hand, the criminal
trial of this Defendant was corrupted, even polluted, by a flood of irrelevant,
prejudicial and unconstitutionally obtained evidence relating to the existence of body markings

that, while shielded from public view and not observed by either Plaintiff, were introduced

against the Defendant during the course of his trial. Critical to this motion is that they (the
tattoos), after being obtained under the guise of corporeal evidence were introduced as
motive/intent evidence and their existence, admissibility, relevance and materiality are questions
properly before the Court. Inasmuch as Plaintiffs rely, almost exclusively, upon them to
establish a variety of facts essential to their claims, it is obvious that this Court, like the Trial
Court, the Appellate Division and the New York Court of Appeals, is confronted with questions

relating to admissibility and the legitimate evidentiary value of the proposed evidence.

At this point I can confidently, and without hesitation, proclaim that there was no rational
justification for permitting the introduction of the evidence at Defendant’s criminal trial and that
the evidence was, and remains, irrelevant, immaterial and unconstitutionally obtained.
Accordingly, based upon the arguments hereinafter presented, this Court will be urged to bar
their introduction here. How these questions weigh in on Plaintiffs’ summary judgment motion
is an open question, however, it is readily apparent that Plaintiffs, in support of their instant
motion, have rested their case on this evidence in making argument case vis a vis motive and
intent. Accordingly, the issue is properly addressed here as an in limine evidentiary
consideration. The question that I suppose begs for an answer is, in the event this Court
determines, as an evidentiary or constitutional matter, the evidence to be flawed or otherwise
improper, will that determination, in turn, require a trial on the merits and the Defendant’s
counter-claims. I submit that a review of the precedent relied upon by the Defendant is both
applicable and prevailing and supports the contention that Plaintiffs motion is, in any case,
destined for denial.

Equally true, is that the Plaintiffs’ entire motion for summary judgment seeks to impose a
collateral estoppel bar to review on issues that were not even theoretically related to the

issues presented in Defendant’s criminal trial.

For instance, by their motion, Plaintiffs seek a summary judgment determination that the
Defendants did enter into a conspiracy in violation of 42 U.S.C. 1985 for the purpose ....

Depriving members of the class their constitutional rights under the First, Thirteenth, and

Fourteenth Amendments... and their statutory rights under 42 U.S.C. 1981 and 1985 and that the

conspiracy was entered into for the purpose of intimidating and creating a climate of fear”.

Simply stated, this issue was not so much as mentioned during the course of Defendant’s
criminal trial nor was it contemplated by any of the counts in the indictment upon which the
Defendant’s conviction rested. (Exhibit “A”).

This same infirmity applies to virtually every cause of action set forth in the Complaint.
(Exhibit “B”).

As is more fully discussed hereinafter, it is readily apparent that in the context of the
complaint upon which Plaintiffs seek summary judgment, they are simply not entitled to it as a
matter of law.

Likewise, the complaint also sets forth numerous causes of action including far reaching and
speculative allegations against the two named Defendants alleging acts perpetrated against
Plaintiffs and “all other Mexican/Chicano Day Laborers and Latino Laborers similarly
situated”. For example, the Fourth cause of action, (see page 15 of Defendant’s complaint
annexed hereto as Exhibit “B”) alleges that Defendants deprived the Plaintiffs of their right to be
free from the “badges and incidents of slavery” , a right guaranteed by the 13" Amendment. The .

Plaintiff's now move for “partial summary judgment’ vis a vis liability on this and the other

causes of action set forth in the Complaint. Conspicuously absent from Plaintiff's memorandum
of law (which relies solely on the doctrine of collateral estoppel) are the particular

causes of action for which the Plaintiffs now seeks “partial summary judgment”. Inasmuch as
the Plaintiffs have placed this Court (and the Defendants) in the precarious position of having to
sort through the numerous causes of action, attempting to speculate the exact nature of

the application (and iaboring to qualify and quantify their argument) this office is left with one
alternative, to address each cause of action singularly, in siriatum. However, before addressing

ithe specific causes of action, a general discussion of Defendants’ position on the law surrounding

tule 56 is called for.
GENERAL PRINCIPLES AND CONTEXT
OF DEFENDANT’S ARGUMENT
I. The Doctrine of Collateral Estoppel is not
Available to the Plaintiffs
It is a well settled and eminently sensible proposition that collateral estoppel is “
premised on the basic concept of fairness” protecting parties from having to “re-litigate identical
issues”, However, collateral estoppel must accommodate due process concerns and cannot “be
used against a person who did not have a fair opportunity to litigate an issue decided in a
previous proceeding”. Therefore, before being available to one seeking summary judgment, two
“formal” requirements must be met. First, there must be a full opportunity to litigate the decision
asserted to be controlling and second, the issue in the prior action must be identical and decisive
of the issue in the instant action. Zois v. Cooper 268 B.R. 890 (S.D.N.Y.2001); citing Parklane

Hosiery Co., Inc. v. Shore 439 U.S. 322 and Gilbert v. Barbieri 53 N.Y.2d 285 (N.Y.Ct, App

1981).

Here, the complaint upon which the Plaintiff's seek summary judgment lacks any
resemblance to the indictment, the testimony or the issues determined at the criminal trial and the
ultimate verdict reached by the Jury, is not “decisive of the issues” being litigated on the
complaint [Emich Motors v. General Motors, infra}.

Even if we assume arguendo ALL of the facts as set forth in the complaint to be

true, nothing alleged speaks to issues such as whether or its “First, Thirteenth and F ourteenth

amendment rights” were intentionally violated nor are questions connected to the equal

protection.... “enjoyed by white persons” answered by the criminal conviction.’ Even more of a
stretch are those causes of action (Exhibit “B”- counts1, 2, 3, 4, 5, 6 & 9) that assert a
“conspiracy”, “false imprisonment” and “infliction of grave mental distress”. None of these
issued were even tangentially decided in the criminal proceeding which, in turn, logically

excludes collateral estoppel as a method of obtaining summary judgment [N_Y. v. Hendrickson

Brothers, et al 840 F.2™ 1065 (2™ Cir.1988)].

In Hendrickson, a case relied upon by the Plaintiffs, this circuit declared “a prior
judgment of conviction may be used as Prima facie evidence in a subsequent civil suit only with

respect to matters of fact or law necessarily decided by the conviction and the verdict on which it

was based” [id @1081 citing Emich Motors Corp. v. GM Corp. 340 U.S. 558, 559 (1951)].
Defendant contends that by application of this well settled rule to the matter at hand, Plaintiff's
motion and the arguments upon which it is based are revealed to be weak and unpersuasive.

In the instant matter it cannot, even philosophically, be said that the conviction and
verdict relied upon by the Plaintiffs “necessarily decided” any First, Thirteenth or Fourteenth
Amendment Questions. Accordingly, based upon the complaint and the issues arising there

under, collateral estoppel is simply not available to the Plaintiffs [Commissioner of L.R.S. v.

Sunnen 333 U.S. 591 (1948) holding that collateral estoppel applies only to matters involving
“redundant Litigation’’|.

In light of the disparate allegations set forth in the complaint vis a vis the criminal
conviction, and remembering that summary judgment is only appropriate when “the moving
party establishes that there is no genuine issue as to any material fact or allegation and is

-|lentitled to the relief as a matter of law”, Plaintiffs motion must fail. Likewise, employing a

"The Plaintiffs have not included in their motion any certified transcript that supports any of their
contentions choosing rather to rely on reported decisions involving one of the Defendants.

6

reciprocal analysis that requires “ail doubts be resolved in favor of the party opposing the

motion” Plaintiff's motion for summary judgment borders on spurious [Fed_R. Civ. Pro Rule 56,

Migra v. Warren City School Board, 465 U.S. 75 (1984); , Gelb v. Royal Globe Ins., 798 F.2d 38

cam Cir. 1986); S.E.C._v. Everest Management, 466 F.Supp. 167 (8S. D.N.Y. 1979)}.

THE ISSUES RAISED BY PLAINTIFFS ARE
NOT SUITED TO DETERMINATION BY
SUMMARY JUDGMENT MOTION

Inasmuch as the Lion’s share of Plaintiffs complaint deals with issues that were
unconnected to the verdict upon which they so heavily rely, the summary judgment question
is easily dispatched. Readily apparent disparities such as divergent issues and parties.”
logically restrict any imposition of a collateral estoppel bar militating denial of the motion.

However, another defect prevalent throughout Plaintiffs memorandum of law relates to
the supposition that the Defendant’s tattoos supply the “motive” and “intent” elements necessary
to establish many of their claims. Defendants are misguided on the facts and the law.

Throughout their memorandum, the Plaintiffs, in their attempt to settle a question of fact,
cite the N.Y. Court of Appeals’ decision describing the tattoos that appear on the Defendant
Slavin’s body. Leaving aside, for the moment, the Defendant’s Fourth, Fifth and Sixth
Amendment claims insofar as the gathering of that evidence is concerned, the fact remains that
all of the testimony pertaining to the tattoos was elicited from a purported “expert” whose
credibility was the source of much debate. What stock the jury put in the witnesses testimony,

God only knows, but, it was clearly a credibility question. ? Defendant asserts that since “intent”

? The Defendant was not charged, never mind convicted, of any crime relating to “all other
Mexican/Chicano Day Laborers and/or Latino Day Laborers” as alleged in the complaint.

7

questions, which are replete throughout the complaint (i.e. “conspiracy” for thus and such a
“purpose”), they are of an ilk can only be resolved at trial.

The prevailing and applicable authority clearly supports the premise that questions of
intent and motive are rarely, if ever, the proper subject of summary judgment motions
[Schoenbaum y. Firstbrook, 405 F.2d 215 ( 2” Cir., 1968); Friedman v. Meyers, 428
F.2d 435 (2™ Cir. 1973)].

Here, by asserting in the complaint the existence of a “conspiracy” for a “ particular
purpose” the Plaintiffs are insinuating a motive and intent something “ not ordinarily subject to
summary judgment’. Moreover these questions were most certainly not adjudicated in the
criminal proceeding. Inasmuch as most of the allegations set forth in the complaint depend on
the determination of these elements (motive/intent) and these issues were not “distinctly put into
issue and directly determined at the criminal trial” Defendants assert them to be beyond the

reach of summary judgment [Emich Motors v, G.M., 340 U.S. at 569 (1951)].

Due process requires the matter proceed to trial inasmuch as there is no existing

Determination vis a vis the class asserted by Plaintiffs.

By their motion, Plaintiff's assert that the underlying criminal conviction provides a collatera]
estoppel bar to re-litigating those issues already determined in the prior proceeding. However, an
analysis of the complaint in comparison to the indictment and verdict had therein discloses a

discrepancy fatal to the Ptaintiff’s instant motion [Goodridge v. The Harvey Group, 728 F.Supp.

275 (S.D.N.Y. 1990)].
Mentioned earlier, it is well settled that in order to raise collateral estoppel as a car to re-

litigation there must, as a matter of law exists A) identical issues, B) that there exists sufficient

? Plaintiffs have included this expert on their witness list — Det. L. Jordon.

8

* sD aegean bent act's Ee ayaa tice, ots arian cam A Seng ht et SE

nexus or privey between the parties to the action in question and the prior determination thought

to be dispositive, together with a full and fair opportunity to litigate [Gilberg v. Barbieri, 53
IN. Y.2d 285 (N.Y. Ct. App. 1981); see also People v. Berkowitz, 50 N.Y.2d 333, 344 (N.Y. Ct.
App. 1980)]. Here, the Plaintiffs’ cause of action asserts, as a general matter, that Defendant’s
engaged in conduct that harmed and otherwise damaged “Mexican/Chicano Day Laborers
and/or Latino Day Laborers” something that as a procedural and empirical fact was not
previously litigated. And, while ordinarily the rule requiring “mutuality of estoppel” is no longer
viable, under this situation it is clearly applicable.

Equally true is that the allegations sought to be determined by summary judgment
are of a kind that do not lend themselves to dispositive motions. It is a settled proposition that
issues pertaining to “knowledge, motive and intent most often result in a full trial with a jury
being able to observe the demeanor of the witness and judge for themselves issues regarding

credibility and intent” [Schoenbaum v. Firstbrook, 405 F.2d 215 (C.A.2d 1968)]. Believing that

summary procedures should be uses “sparingly” in cases where “motive and intent play leading
roles, the proof is largely in the hands of the alleged conspirators and hostile witnesses thicken
the plot” both State and Federal Courts are justifiably reluctant to extend summary determination
to cases hinging on motive. Clearly, in the context of the complaint had herein these principles

are squally applicable [Poller v._C.B.S. 368 U.S. 464 (1962); Cross v. U.S., 336 F.2d 431

(2™ Cir.2d 1964); See also Subin v. Goldsmith, 224 F.2d 753 (2™ Cir. 1955)].

For the reasons set forth hereinabove the Defendant’s assert that since there was no prior

determination vis a vis the class asserted due process requires a trial on the merits [Emich Motors

Corp. v.G.M. Corp., 340 U.S. 558 at 569].

Accordingly, based upon the complaint and the allegations set forth therein summary

judgment is not available to the Plaintiffs.

The unde criminal conviction should not be dispositive in this litigation

The evidentiary questions presented to this Court emanate from a relatively
simple set of undisputed facts.

On November 2, 2000, the Defendant, accompanied by Counsel, presented himself to the office
of the District Attorney for the County of Suffolk, State of New York. He was immediately
arrested for his role in an assault that occurred on September 17, 2000 in Farmingviile, a surburb
in Suffolk County, New York. At the time Defendant was delivered over to the authorities, no
warrant had been issued for his arrest nor had an indictment been handed up by a Grand Jury.
Importantly, prior to actually presenting Defendant to the office of the District Attorney, retained
Counsel advised the authorities, in writing, that the accused was invoking his various Fifth Amendmem
privileges. Thereafter, while at the office of the District Attorney, defense counsel expressly
rejected request by the Prosecutrix for what are, in New York, commonly referred to as
“voluntary exemplars”, specifically, photographs of Defendant’s body which had affixed
thereon, by way of tattooing, images, acronyms and symbols. During this introductory stage of
the proceeding two requests made by the prosecutrix for “voluntary exemplars” were
unequivocally denied by defense counsel. Moreover, on each occasion the authorities were
advised that the gathering of any corporeal evidence would only be permitted by application of,
and in accordance with, New York Criminal Procedure Law 240.40 (2)(b)(iv), New York State’s
Corporeal Evidence Statute.

However, despite these admonitions, the Defendant, after the departure of Counsel, was

forced to strip and have his body repeatedly photographed.”

" NLY.C.P.L. 240 (2)(b)Xiv) provides, “subject to constitutional limitation” the people may obtain
pursuant to order, “non-testimonial evidence”.

10

In reaction to Defendant's threshold Fourth, Fifth and Sixth Amendment challenges to
this unlawful gathering of evidence, the People moved, pursuant to the corporeal evidence statute,
for an order that would require the Defendant to remove his clothing for the purpose of
photographing the expressive tattoos appearing on his stomach, chest, upper arms and legs, all
shielded from public view by ordinary, every day attire.

The Defendant opposed the People's motion and raised, inter alia, the Fifth Amendment's
self- incrimination clause as a defense to the forced exhibition of the tattoos, some of which were
undeniably anti-Semitic, while others could be considered "white supremacist” and still others
evince a counter culture lifestyle and disdain for the police. The Trial Court granted the People's
application and, pursuant to court order, a second set of photos were taken and ultimately
introduced against the Defendant at his criminal trial.

Critical to the Defendant's Fifth Amendment reasoning advanced by the Defendant were
two uncontroverted facts. First, no witness to the crimes alleged observed the tattoos in question
and their existence was irrelevant and immaterial, as a matter of fact and law, vis a vis
identification, appearance or physical condition of the accused. Second, the evidence was sought,
and later admitted at Defendant's criminal trial, for their testimonial value, in a communicative
context and for the sole purpose of proving to the jury the Defendant's subjective thought process
on the issues of race and religion. The Defendant contends that under these novel and unique
circumstances, the State, by forcing the Defendant to reveal the tattoos for the singular purpose of
establishing his thoughts and beliefs, violated Defendant's Fifth Amendment privilege against
self-incrimination.

As is more fully discussed hereinafter, the Defendant, relying on Schmerber v.

P Like the dissent at the Court of Appeals, Defendant contends the forced strip of him constituted the
coerced gathering of testimonial evidence, obtained after the entry of counsel, not a routine booking
procedure.

11

California, 382 U.S. 757 (1966), US. v. Gilbert, 388 U.S. 288 (1967), and U_S. v.

Wade, 388 U.S. 218 (1969), advanced he contention that since the evidence, obtained by
coercive judicial edict, was neither sought nor introduced to establish an empirical fact,
physiological response or identity, but rather, obtained and admitted into evidence for the stated
purpose of establishing the accused’s thoughts and beliefs, the Fifth Amendment privilege,
unlike other corporeal evidence cases, was implicated.

Defendant readily concedes that typically, corporeal evidence is, almost by definition,

non-testimonial. However, as seen here, and considering that people are not born tattooed, this

presumption is not an absolute. It was, until this case, axiomatic that corporeal evidence is
constitutionally obtainable and admissible so long as it relates to the proof of an empirical fact

such as identity, physical appearance or to establish a physiological response. Holt v. US., 218

U.S. 245, 252, 253 (1910). Free from the risk that the accused's thoughts or beliefs will, by
State action, be compelled from him and remain his own, traditional corporeal and
forensic evidence is essential to modern day prosecutions and, as the Supreme Court

reasoned in Schmerber, supra, "that since blood evidence was neither Defendant's

testimony nor evidence relating to some communicative act or writing by Defendant,
the privilege was not implicated", Id. 765.

At trial, and before the intermediate Appellate Court, the people relied on an
exceedingly narrow reading of Schmerber to justify the issuance of a Court order that compelled
the Defendant to reveal the tattoos, enabling them to be photographed and subsequently admitted
into evidence against Defendant as proof of his subjective thoughts and motive. The Trial Court
also adopted this narrow view when it refused to acknowledge the testimonial nature of the

evidence. The intermediate Appellate Court passed on the issue without comment.

12

On June 11, 2003, Chief Judge Judith Kaye granted leave to argue the matter before the
New York Court of Appeals.
In his brief to the New York Court of Appeals, the Defendant, still guided by the holdings

lof Schmerber, Gilbert, and Wade, asserted that since the evidence was obtained and offered to

establish the accuseds philosophic ideology and motive for having committed the crimes
charged, as opposed to empirical facts, as opposed to empirical fact, phsiological response or
identity, the evidence itself constituted a departure from the realm of corporeal evidence and
entered that which is testimonial and communicative, something jealously guarded by the Fifth

‘Amendment's self-incrimination clause. Uliman vy. U_S., 350 U.S. 423, 426, 428 (1956).

In their brief to the New York Court of Appeals, the People responded that, since the State

did not compel. The Defendant to inscribe himself, the holding of U.S. v. Hubbell, 530 U.S. 27

(2000), and document related cases like it, were controlling and analogous. The People also
contended that, since the tattoos pre-existed, by many years, the order requiring them to be
displayed, "act of production doctrine" considerations were not violated. The Defendant
disagreed. Arguing that the compelled exhibition of the tattoos evinced a reaffirmance of their
socio-racial and political overtones and that, since it was the Defendant's own body, not a
document whose source could be hidden from a jury, the compelled display was, in the context of
the self incrimination clause, an independent and coerced testimonial act. The Defendant also
contended that, since it was only by court order that the evidence (the photos) was created, that
Defendant, even under a Hubbell approach, was forced to assist in the creation of evidence as
opposed to the mere surrender of evidence. Pointing to the obvious distinction between
Helivering a pre-existing document pursuant to subpoena and the patent invasion of personal

privacy that accompanies the forced stripping of an accused for the purpose of taking

13

photographs of his or her body, The Defendant claimed this Court ordered procedure violated a
host of constitutional and evidentiary considerations. Finally, Defendant asserted that in the
context of the case, the photos, being of Defendant, required him to self authenticate the tattoos

and, most importantly, what they were purported to represent.

In a four-two decision rendered on February 17, 2004, a divided New York Court of
[Appeals adopted the People’s view, holding that despite being despite being irrelevant and
immaterial as corporeal evidence and while acknowledging the testimonial qualities and
communicative nature of the evidence, the State, by application of Hubbe// and its progenitors,
lwas entitled to constrain the accused to remove his clothing, display the tattoos, be photographed,
and have the photos admitted into evidence to establish his thoughts and beliefs on the issue of
race and motive for committing the crimes charged.

In a sharply worded dissent, Judge Ciparick, joined by Chief Judge Kaye, called the

majority’s Hubbell analogy “dubious at best”. Defendant agrees.°

The Criminal Proceeding was tainted and should not be considered dispositive

The Fifth Amendment provides "No person.. shail be compelled in any criminal case to
be a witness against himself." Historically, the Courts have surveyed the boundaries of the

privilege and bench marked its dimensions by the “testimonial character" and “communicative
and personal nature" of the disputed evidence that, when combined with the "ingredient of
personal compulsion", provides the longitude and latitude necessary to navigate the course

originally plotted by the framers. Counselman v. Hitchcock, 142 U.S. 547 (1896).

P Aside from the tattoos photos and testimony directly relating thereof, the record is barren of any
evidence supporting the conclusions that the crimes charged were race, gang, white supremacist or hate
eroup related or that the crimes were contrivances emanating from having, such belief or membership
in such groups. Yet, despite this being’so, the tattoos were employed to create the inference that the
Defendant belonged to such groups as “prison gang”, “street gang”, “white supremacist groups” and
worse. Most importantly however, the evidence was used as evidence of the Defendants subjective
thought and to supply a racial motive to the crimes charged.

14

In the matter being considered, by misapplication of the Supreme Courts determination in

Hubbell, supra, the New York Court of Appeals has blurred, even erased altogether, the line that

once separated corporeal and incorporeal evidence. The Defendant contends that this stealthy
transgression, and degradation of the privilege, only serves to encourage the government's “ever
more ingenious methods of obtaining access to sought after materials ", and cannot withstand

critical, historical, philosophic or even logical scrutiny. Couch v. U.S., 409 U.S. 322, 342 (1973),

U.S, v. White, 322 U.S. 695, 698, 699 (1944).

Undoubtedly, the burning question presented (which parenthetically, neatly fits the
criteria of Justices Thomas and Scalia's invitation appearing in their appended opinion in

Hubbell, supra and that which appeared in Justice Marshall's dissent in Pennsylvania V. Muniz,

infra at fn 4) is whether the Fifth Amendment privilege protects against compelled production (or
creation) of incriminating evidence or, is it wholly exclusive to that which is testimonial and, if
mot, under what authority can the State extort evidence, testimonial or otherwise, directly from the
accused and still remain within the recognized purpose and policy behind the privilege.

It is respectfully submitted that a review of the salient facts, as simple as they are, will

cause this honorable Court to conclude that the conviction below was not fairly obtained and

therefore it would inappropriate to consider it dispositive of the complaint.

Admittedly, the thorniest questions raised by the facts is what type of evidence created
when the Trial Court, via coercive judicial edict, ordered the Defendant to disrobe and be
photographed.

Perhaps, the simple answer is corporeal evidence. However, in this extraordinary case,
the simple approach reaches the wrong conviction. Here, the constitutional axiom that the

evidence relate to some empirical consideration, i.e. identity, appearance or physical condition, is

15

‘absent. In this case the evidence was sought, and obtained by coercive judicial edict, for the
singular purpose of compelling from the accused his thoughts and beliefs as reflected in the
expressive tattoos found on his body. Importantly, the evidence was obtained, and later admitted
at trial, as proof of Defendant's "thinking"’ not as "real" or "physical evidence". Moreover, there
is no doubt that what was obtained from Defendant is most accurately described as "testimonial
evidence”, offered to the jury in a communicative context, for the imprecise, but intended purpose

of establishing Defendant's subjective thoughts, beliefs and motive. Doe v. U.S, 487 U.S. 201,

210, (1988), Curcio v. U.S, 354 U.S.118, 128 (1957). The problem is, the evidence was obtained

by virtue of New York's corporeal evidence statute and this Court's well defined corporeal
evidence exception. This dilemma cannot be logically reconciled and constitutes the forced fitting
of a square peg into a round hole.

In Schmerber v. California, supra, the Supreme Court, while addressing the Fourth and
Fifth Amendment implications emanating from the issue of corporeal evidence, concluded that
"the privilege of self incrimination protects an accused only from being compelled to test, or
from otherwise providing the state with evidence of a testimonial or communicative nature" Id.
764, The Court likewise concluded "It is clear that the protection reaches an accused's

communications, whatever form they might take, and the compulsion or responses which are also

communication” and, so long as there does not exist “even the shadow of testimonial
compulsion" the privilege is not triggered. (emphasis added) id. 764-766.

In this case, the Trial Court ordered an accused to provide testimonial evidence that was
subsequently offered for its communicative value, absent the justification or requiring the

evidence speak to any corporeal issue whatsoever.

~

F In her opening statement the proseutrix while admitting the evidence had no empirical value and was
irrelevant to the question of identity stated it will establish the Defendant’s “motive... his thinking”

16

Moreover, since the evidence itself was utterly immaterial and irrelevant as traditional

exemplars, its relevance and materiality was limited by the facts to incorporeal matters, such as
thought and belief. As opposed to the mere exhibition of his person for identification purposes, in
this case, the Trial Court forced the accused to reveal his person so that communicative and
testimonial evidence could be obtained directly from him and, to some extent, as the byproduct of
a coercive judicial edict, be created by him. And, although requested and obtained under the guise
of corporeal evidence, what was actually obtained were insights into the purported “inner
sanctum of personal feeling and thought" [Couch v. US., 409 U.S. 322, 377(1973)] and as such
should have been protected. That much is clear.

To put a finer point on Defendant's initial Fifth Amendment claim, the Court should note
that aside from the images and symbols referred to by the majority at the Court of Appeals, and
relied upon by Plaintiffs, at least three of the tattoos in question, "F.T.W.", "A.C.A.B." and
"N.Y.H.C.", are acronyms for actual words and expressive thought. What is most troubling
however, is that the Trial Court, after the photos were admitted into evidence, permitted the State
to present testimony as to the meaning of these acronyms’. Ignoring, for the moment, the danger
that exists when law enforcement is left to speculate or select what words are to be put into the
mouth of an accused in a criminal trial, the fact remains that actual words were attributed to the
Defendant and those words were obtained, by force, via coercive judicial edict. The Fifth and

Sixth Amendment implications that resonate from this scenario are virtually endless.

* BTW Foer the Wort wittte A-C-7B. stood for "All cops are bastards.” N.¥.H.C, New York Hard Core”.. was said to

indicate

an

association with a group known as "New York Hate Corps.” or

17

pg Sieg

xem

In each of the seminal cases decided that deal with an accused's compulsory submission to

pia orders, the Courts, both State and Federal, reiterate the sentiment that “mere exemplars,

in contrast to the content of what is said", are nothing more than "identifying physical

chargcteristics." Doe v. US, 487 U.S 201, 210, 211 (1988), U.S y. Wade, 388 US, 218, 222

(1967). It is readily apparent that, when choosing to frame underlying rationale behind the

corporeal evidence exception in the context of “identifying physical characteristics", the

Supreme Court intended any search or forced exhibition to be related, at least in some measure,

to ail identification, empirical or corporeal matter in controversy. For instance, in US. v. Wade

suprd, the Court reiterates itself by opining “the accused was required to use his voice as an

identifying physical characteristic, not to speak his guilt." Id. 222-223. Here, there was no nexus

between the forced exhibition of the body and a related question of empirical fact. It was, as a

mai
subj
He
"sel,

ani

rt of record, made clear that this evidence was only relevant to establish the Defendant's
ctive thoughts and beliefs. These two propositions cannot, even theoretically, be squared.
the evidence was, by the State’s own admission, sought after to establish the accused's
Nidentification with white supremacist ideology", to establish Defendant's “general racial
psity” or, as told to the jury by the prosecutrix, to establish Defendant's “thinking”. It was
ed by the People that, once Defendant's religious, socio-racial and political beliefs were
ished, the jury would infer a racist motive to the crimes charged. By advancing the
intion that anyone who has inscribed himself with these symbols of hatred possessed the

site mental state to commit murder, the People used the evidence obtained, not to establish

guilt|as an empirical matter but rather, as a subjective admission, or as the Supreme Court has

phrased it, to "speak his own guilt” US. v. Wade, 388 U.S. at

18

223

| Defendant Slavin asserts that this scenario cast the “shadow of testimonial compulsion"

fa

ifically warned against in Schmerber v. California, 382 U.S. at 765. Accordingly, the entire

geeding was grounded upon a glaring Fifth Amendment violation.

In US. v. Gilbert, 388 U.S. 263, 265 (1967), the Supreme Court presaged the problems we

have now encountered. When discussing the justification behind excepting corporeal evidence from

Cai

istitutional protection, Justice Brennan notes that “no claim is made that the content of the

exemplars was testimonial", suggesting that the absence of such a claim, and the close relationship

of

the evidence to an empirical fact in issue, was dispositive. Likewise, in Schmerber, supra, Justice

Bre

inan predicted potential conflicts by pointing out that the distinction between corporeal and

testimonial evidence may, at some future time, begin to blend and that “there will be many cases in

wh

ith such a distinction is not readily drawn. "Id. 764. Here, Defendant has fully asserted the claim

that] is absent in all other exemplar cases ever to appear in the State and Federal Courts. It is

abundantly clear that by application of the well! defined rationale expressed in Schmerber, supra, and

evéty other exemplar or corporeal evidence case decided by the Supreme Court, the order compelling

fendant to provide this evidence should be construed to be a violation of the privilege. This

furdamental distinction was, and continues to be, disregarded by New York's highest Court and

should provide a basis for preclusion here.

The next question to be addressed is whether compelling Defendant to reveal, under the guise

the corporeal evidence exception, the expressive tattoos, the Trial Court “extorted a

munication" from Defendant. Guidance on this question can be found in this Court's holding in

v. US., 218 U.S. 245, 252-253 (1910), wherein the Court ruled

...Dut the prohibition of compelling a man in a criminal Court to be a witness against himself is a

prohibition of the use of physical or moral compulsion to extort communications from him, not an

19

10, 211.

ture from this well settled precept and impermissibly
nonial evidence, by judicial edict, directly from an
) the Fifth Amendment's self-incrimination clause.

nt, logically consistent and straightforward arguments,
yomed before the Court of Appeals, to wit: respecting
privilege, can the State compel testimonial evidence
him or her in a criminal trial?

: obtained from Defendant was communicative and

7 this Court. In Doe v. U.S., 487 U.S. 201, 210 (7988)

hat which "reveals a person 's subjective knowledge or
uw least in part, was designed to spare an accused
zliefs with the government. Id. 213, or evidence that
-ertion, discloses information or that which reveals the
en discussing this issue the Supreme Court has also
which the evidence is presented. Defendant contends
ns mirror those of Defendant insofar as the relevancy
mpiy, evidence that is offered in a communicative
‘ish a thought or belief as opposed to an empirical fact
'ULS. 424, 456, 436 (1971).

” offered in a "communicative context"would

ption, violate the privilege. This weil settled

: majority at New York Court of Appeals.

21

lusion of his body as evidence when it ma

id a fury to look at a prisoner and compare.
).

In Holt, the exhibition of the Defendz
itimate use of corporeal evidence, not to est
oreover, it cannot be logically or constitut
y other corporeal evidence case for that ma

te's desire to establish an accused's subject

ially relying on Holt, the majority at th
distinction and misapprehended the Supreme ¢
eal or physical evidence" from that which
an exercise in circular reasoning tha

mehow justify its conclusion that it is co

Widence, necessary_to prove an incorporee

xception as justification for its forcible extra

folates both the spirit and history of the privil

In all of Supreme Courts prior determin

estricted to those times when the physical char:

t that, the accused's physical person. Wheth

dexterity {Pennsylvania v, Muniz, 496 U.S.5
ice, {US. v. Dionisio, 410 U.S.1, (1973)], or:

plevancy and materiality of the evidence has al

sical characteristic for identificationpurpos

Importantly, in this case, the New York Court of Appeals recognized the evidence to be

testimonial in nature and offered in a communicative context, but then turned to Hubbell, supra, to

eltcuse the State's actions, avoid suppression and circumvent the privilege. This is the crux of the
conflict.

Here, despite finding the evidence to be testimonial and communicative, the New York Court
of Appeals reasoned "the issue thus becomes whether the privilege is implicated here because
this particular "real or physical evidence" may have also reflected Defendant's thought process.

dj

Son
b

this regard, we consider it dispositive that there is no Fifth Amendment protection for the
contents of preexisting documents. Indeed, it is a settled proposition that a person may be
required to produce specific documents (in response to a subpoena) even though they contain
incriminating assertions of fact or belief because the creation of those documents was not

campelled within the meaning of the privilege. United States v. Hubbell, 530 US. at 35-36."

Defendant's contention that the Court of Appeals’ view of Hubbell., impermissibly

décreased the Fifth Amendment's self-incrimination clause rests in part on the assertion that, once

offered for the sole and particular purpose of proving the accused's subjective thoughts and

beliefs, the evidence ceased to be “real or physical” evidence and was transmuted by its use,

7

evancy and materiality into "testimonial evidence."

The Defendant hastens to point out and emphasizes that, since the tattoos were never
relevant or material to any corporeal matter, the corporeal evidence justification underlying the
Twial Court's order that permitted the forced gathering of it was never constitutionally authorized.
Accordingly, Defendant contends that the New York Court of Appeals’ entire paradigm is
conceptually flawed, ill conceived and unconstitutional. This assertion provides further

support vis a vis a fundamental defect that renders the trial below ill suited for use in this

22

Deena. yi cy gna se NR A PRAGA «dane ei Re Sen Spear crane gtraeild Bog
Lge tees . Ce ae ay : Pee

summary proceeding.

From as early as Boyd vy. U'S., 116 U. S. 616, 635 (1865) this court has repeatedly warned
"Those who framed our Constitution and the Bill of Rights were ever aware of subtle

encroachments on individual liberty. They knew that illegitimate and unconstitutional practices

t their first footing—-by silent approaches and slight deviations from legal modes and
‘ocedure." This case demonstrates the ease and stealth by which recognized liberties can be

shrewdly dispensed with.

In their brief to the New York Court of Appeals, the People introduced the "act of
production doctrine" by equating the Defendant's body to a pre-existing subpoenaed record or
document. This assertion, while acknowledging the testimonial nature of the evidence, muddled

att already murky question resulting in the awkward reasoning appearing in the lower Court's

mipjority opinion.

Ignoring for the moment the fact that the questioned evidence was obtained by employing

corporeal evidence exception, the cases relied on by the People and the Court below are
inapposite to the question presented and the facts of this case. The Defendant contends that by
contorting Hubbell , the New York Court of Appeals has decreased the privilege as it applies to

e natural individual and violates the edict of Holt, Schmerber, Gilbert, and Wade.

Initially, Defendant notes that the analogy drawn by the majority is without precedent.
Never before has the rationale employed by the Federal and Supreme Courts in Hubbell been
applied to the physical person or natural individual, so as to peiniit the coerced extraction of
testimonial evidence directly from one accused of a crime. The Defendant contends the Court of

Appeals opinion set a dangerous precedent, one that is entirely inconsistent with any previous

23

Cc

U

Ul

.. of Schmerber, Hubbell, or the Fifth Amendment for that matter. Defendant
]

ewise contends that even if this Court was to accept the reasoning employed by the New York

burt of Appeals, effectively reducing the individual to the status of subpoenaed business records

I tax returns, even then, and by properly applying the doctrine, the evidence would still remain
F

fth Amendment protected.
Since the time of Boyd v. U.S, 116 U.S. 616 (1886) continuing through U.S v. Shapiro, 355

S.1 (1948), Curcio v. US., 354 U.S. 118 (1957), Kastigar v. US, 406 U.S 441 (1972), Bellis v.

S.. 417 U.S. 85 (1974) and culminating in Fisher v. US., 425 U.S. 391 (1976), Doe v. US., 487

U

S. 201 (1988) and US. v. Hubbell, 530 U.S. 27 (2000), this Court has sought to define the

language appearing in the Fifth Amendment's self incrimination clause which protects the
cffizenry against being incriminated by their own compelled testimonial communications. A
review of the opinions leading up to Hubbell results in the following theoretical amalgam which

cHptures the essence of the privilege and the act of production doctrine:

"It is the extortion of information from the accused, the attempt to force him to disclose
contents of his own mind that implicates the self incrimination clause and unless some
tempt is made to secure a communication, written or oral or otherwise upon which reliance is
be placed as involving the accused consciousness of the facts and the operations of his mind

expressing it, the demand is not a testimonial one. "(Citations omitted). Doe v, US., 487 U.S.

201, 211 (1988).

By application of this standard, and remembering the photos were of the Defendant himself

not documents relating to some artificial entity, triggering the privilege is logically unavoidable.

Braswell v. US., 487 U.S. 99, 117, 118 (1988).

Most frequently, this debate has been limited to those times when the government, by use of

24

a

subpoena, has sought records and other documents that, while containing incriminating
widence, did not compel the individual to restate, repeat or affiun the truth of the contents or

uthenticity of the documents sought and therefore, the Fifth Amendment was not violated "for

the privilege protects a person only against being incriminated by his own compelled

t

testimonial communications". Fisher vy. U.S., 425 U.S 391, 407 (1976).

Here, there are two views supporting the Defendant's contention regarding the act of

P

‘oduction doctrine's applicability to this matter. First, by compelling the Defendant to disrobe for
purpose of creating testimonial evidence (the photos), the Trial Court forced Defendant to do
re then deliver evidence, it forced him to participate in the creation of evidence. These photos,
ken over objection and under the threat of force, were only realized by a coercive edict that
quired Defendant to strip for this purpose and this purpose alone. Taken together with the fact
t the images, symbols and words appearing on the Defendant's body are, as the term was

fined in Doe, supra testimonial, the process described constitutes the creation, and extortion, of

st

€

stimonial evidence. As for their use, there is no question that the photos were offered for their

stimonial value and in a communicative context as opposed to a "mere physical characteristic for

identification purposes". U_S. v. Wade, supra at 222.

The second view is, by compelling the Defendant to reveal the expressive tattoos, the Trial

Court forced Defendant to restate, repeat and affirm their purported sentiments. Since the

Midence was admitted at Defendant’s trial for the sole purpose of establishing his current beliefs,

the forced display of the tattoos, which had been affixed years earlier, were of unknown vintage
and hidden from public view, served as an affirmance, or restatement of their contents on both the
day the photos were taken and when they were introduced against him at trial. Moreover, they

were, as a matter of record, introduced for that precise purpose, to attribute the sentiments

25

hg

SE

42

an

expressed in the tattoos to the accused, at trial. Likewise, the Defendant contends that under

se facts there is no way to divorce his testimonial capacities from either the gathering of the
idence or its contents. The mere fact that the evidence was introduced for the sole purpose of
ibuting to him the beliefs reflected in the tattoos to Defendant, renders the forced display of

m, at several levels, a coerced assertion of fact or belief. Here, the photos were of the accused

himself, making the testimonial compulsion self-evident and the only difference between what

ippened here and the forced stripping of the accused in open Court, is an imagined one. No

L.. can be made between forcing the accused to orally restate a coerced confession in

yen Court and the facts of this case. This, Defendant contends, presents the substantial threat of
If incrimination necessary to activate the privilege.

By holding that "However much the tattoos may have reflected the Defendant's inner

thoughts, the people did not compel him to create them," the Court of Appeals acknowledges the

t¢stimonial nature of the evidence but circumvents the privilege as set forth in Schmerber by

isapplying the act of production doctrine as restated in Hubbell. However, unlike the cases
lied, here, the Defendant provided much more than a mere concession that the tattoos existed,

was forced to reaffirm and restate their contents by removing his clothing and displaying

for the photographer. This dangerous precedent defies this Court's belief that “it is the
ext

‘ortion of information from the accused himself that offends our sense of justice." Fisher v. US.

15 U.S. 391, 398 (1976).

At the Court of Appeals the People also contended (and the majority agreed) that the tattoos

constituted a “prior statement” made at the time a particular tattoo was affixed. Defendant

swered that considering their age, location (intimate parts of the body), and the fact that they

tre covered by clothing and hidden from public view, the judicially coerced removal of the

26

f

if

clothing which hides them, constituted an independent compelled testimonial act. These facts,
standing alone, deliver all that is necessary to implicate the privilege and overwhelm the State's

ahemic view of the doctrine upon which they rely.

In Fisher. supra the Supreme Court noted that: "the elements of compulsion are clearly

present, but the more difficult issues are whether tacit averments of the taxpayer are both

istimonial and incriminating for the purpose of applying the Fifth Amendment." Importantly, the

purt continued "these questions perhaps do not lend themselves to categorical answers; their
solution may instead depend on the facts and circumstances of particular cases or classes
ereof" Id 410. In this case, the purpose behind the compelled display was to ascribe a current
stimonial statement to the Defendant at trial, thereby violating the underlying principles that
ipport the act of production doctrine as well as the Fifth Amendment's self-incrimination clause.
is submitted that, considering the age, location, and content of the images, acronyms and

mbols, their display constituted a forced and explicit testimonial act, not a harmless or tacit

averment as to whether or not they exist. Fisher v. US., 425 U.S. at 410, 411.

Under these facts, the compelled display of Defendant's body in order to provide testimonial

evidence violated the privilege under Schmerber and the act of production doctrine as set forth

in Hubbell.

A related proposition that deserves attention is the Supreme Court’s repeated affirmation

that, “one of the several purposes served by the constitutional privilege against compelled

ss

ektimonial self-incrimination is that of protecting personal privacy” Fisher v. U.S., supra at

3199.

The rationale employed by the New York Court of Appeals, which equates the stripping

arid photographing of the individual with a corporate document or business record obtained by

27

wa TARE Sse eo ee soca cin PIG a an AE TEN

subpoena, not only decreases the sanctity of the privilege but also the individual. The authority is

gion that distinguishes the person of the accused and the workings of his mind from his papers

7
ty

d records. For instance in US. v. White, 322 U.S. at 648, this Court declared "The privilege

is) a personal one... applying to natural individuals designed to prevent legal process from

rcing from the accused evidence necessary to convict him or compelling him to authenticate
bcuments or effects that might incriminate him" and that these principles construct a barrier
ainst ‘physical torture and less reprehensible modes of compelling evidence" and form a
‘bulwark against inquisitous methods of prosecution.” The opinion relied on by Plaintiffs’
andons this fundamental concept.

In the view of the New York Court of Appeals, the State, by the issuance of a simple

ibpoena deuces tecum, can now, without exception or immunity, forcibly extract testimonial

vidence directly from one accused of a crime. This is the bottom of the slippery slope. What is

‘en here is the People's successful attempt to avoid the strict standards of Schmerber/ Gilbert/

lade by employing the relaxed standard expressed in Hubbell and Fisher, which was only

complished by reducing the natural individual to the status of a business record or other
inanimate object. It is submitted that the mere existence of a rule that is particular to records and

ocuments should be recognition enough of the distinction between people, and the documents

ey, or others, may possess. The opinion relied upon by Plaintiff's fails to account for this

storical distinction and reveals a failed experiment that crossbred Schmerber and Hubbell to the

triment of the privilege and the sanctity of the individual. Braswell v. US., 487 U.S 99, 117,

—

18 (1988).

Even in cases that concerned the delivery of documents, Courts have gone to great lengths to

paffirm the importance of preserving “inviolate the privilege against compulsory self

28

incrimination” by declaring the privilege “an intimate and personal one which respects the
Private inner sanctum of individual feeling and thought and proscribes state intrusion to extract

salf condemnation." Couch v. u.s, 409 U.S. 322, 327-329 (1975), Doe v. ULS., 487 U.S. 201,

210-215 (1988).
Recognizing the abhorrence of governmental assaults upon the individual, the Courts have
often warned against the temptation to resort to the "cruel expedient of compelling incriminating

ewidence" [Couch v. U.S., supra, US v. White, 322 U.S. 684, 698 (1944)], and that the privilege

‘ts as broad as the mischief against which it seeks to guard." Schmerber y. California, 354 U.S.

“J.

57, 764 (1966), citing Counselman v. Hitchcock, 142 U.S. 547, 562 (1892).

The Court of Appeals' willingness to overlook a century of squarely applicable case law
pertaining to corporeal evidence, favoring the sub silentio creation of a new exception to the Fifth
Amendment, by the misapplication of an existing one, is as misguided as it is dangerous.
OTHER REASONS FOR DISREGARDING

THE CONVICTION AS A BASIS SUMMARY
JUDGMENT

In the dissent below, Judge Ciparick and Chief Judge Kaye identify an accompanying Sixth
Amendment violation that was perpetrated upon the accused at the time of his arrest. It is in this
cOntext that the following is submitted for the Court's consideration.

The Defendant, at the time he was presented to the office of the District Attorney, was
abcompanied by retained counsel who verbally, and in writing, advised the authorities that
Defendant was invoking his various Fifth Amendment protections and that any evidence could
I be gathered by operation of N.Y.C.P.L. 240.40 (2)(b)iv). Mentioned earlier, this statute,
mirroring this Court's corporeal evidence exception, provides a mechanism whereby the people

can obtain, upon motion, and "subject to constitutional limitation"... "non-testimonial" evidence

29

¢

lich as hair, blood, voice exemplars, handwriting samples, fingerprints and photos.

Notwithstanding the admonishment by counsel regarding exemplars, the Prosecutrix, while
‘Il within the confines of the District Attorney's office, forced the accused, over his objection, to
rip for the purpose of photographing the tattoos which appear on his body. The photos were then

bmitted to the grand jury for their testimonial and communicative value, not as real or physical

evidence. The Defendant contends that this forced display, coyly and shrewdly conducted after

dunsel had departed and over his objection, constituted the impermissible extraction of

>

-stimonial evidence in contravention of Defendant's Sixth Amendment right to counsel.

There are several separate and distinct constitutional questions which emanate from these

ts. First, if the evidence sought and obtained during this procedure is determined to be

‘stimonial, then it logically follows that the process described constitutes a patent violation of

th the accused's Fifth Amendment right to remain silent and his Sixth Amendment right to

unsel, both of which were asserted, in writing, prior to the Defendant being taken into custody.
This contextual wrinkle compels an even deeper discussion of the Fifth Amendment and its

ationship to the Sixth Amendment. Moreover, it is apparent that this sub-plot was equally

important to the Court of Appeals below and pointed to by them as a way of quelling the Fifth

mendment claims advanced by the Defendant. The decision relied upon by Plaintiff's suggests
t, since the evidence was gathered in a manner consistent with the Fourth Amendment,
fendant’s Fifth and Sixth Amendment claims were thereby trumped. Defendant disagree.

In the Courts majority opinion, the New York Court of Appeals states "even if as the dissent

bntends, the trial Court erroneously authorized the taking of the second set of photographs,

4 fendant suffered no prejudice as a result because... the first set of photographs would have

gen admissible at trial. " Regardless of whether the evidence was obtained without violating the

30

fi

Fourth Amendment, the process described constitutes the compelled extraction of “testimonial

evidence” [Couch v. U.S., 409 U.S. 322, 327-328 (1975); Doe v. U.S. 487 U.S. 201, 209-211

(

inh Amendment's right to remain silent, the self-incrimination clause and the Sixth

1988)] and is therefore unconstitutionally obtained and inadmissible at trial by operation of the

Amendment's right to counsel. Since both the ingredient of compulsion, as well as the

"testimonial nature" of that which was sought and obtained are present, the Court of Appeals’

analysis is flawed, replete with rationalizations and creates a variety unforeseen constitutional

efitanglements. Dawson v. Delaware, 503 U.S. 159 (1992); Miranda y. Arizona, infra.

Notwithstanding the Court of Appeals’ questionable Fourth Amendment analysis, the real

sue is whether or not the Defendant's Fifth and Sixth Amendment protections were transgressed

by this post-arrest, pre-arraignment, coerced gathering of testimonial evidence. The Defendant
contends that, under these facts, there is no constitutional distinction between the coerced
eltraction of testimonial evidence by forcing an accused to strip for the purpose of obtaining the

evidence and the forced extraction of an oral admission outside the presence of counsel.

Even if, arguendo, the forced strip was constitutionally peimissible from a Fourth

Amendment perspective, this can not overcome the Fifth and Sixth Amendment contentions The

fact remains that the evidence was compelled from him and it was both testimonial and

cimmunicative. For brevity's sake, the Defendant emphasizes that: 1) the forced strip, over

objection, was nothing like a routine booking procedure; 2) that the process described was more

in to a forced confession obtained outside the presence of counsel than a routine booking and

3) even if the strip was authorized by the Fourth Amendment, the gathering of testimonial
evidence remains prohibited by operation of the Fifth and Sixth Amendments and should

tiprefore have been excluded from use at trial. Estelle v. Smith, 451 U.S. 454, 470-473 (1981).

31

ei

Miranda vy. Arizona, 384 U.S. 436, 439 (1966), the Supreme Court held "The cases
before us raise questions which go to the roots of our concepts of American
criminal jurisprudence.., we deal with the admissibility of statements obtained from
an individual who is subjected to custodial police interrogation and the necessity

for procedures which assure that the individual is accorded his privilege under _the

Fifth Amendment to_the Constitution not to be compelled to incriminate himself”

(Emphasis added).-473 (1981).

The case before this Court also challenges the historical definition of testimonial evidence as

seen in cases like Hubbell and Fisher, supra, with the constitutional doctrines encompassed by

iranda and its progeny. Cutting directly to the point, if testimonial evidence is that which has

en defined in Doe, Hubbell, Schmerber, etc., the question becomes, did law enforcement, by

rcibly stripping the Defendant for the sole purpose of obtaining testimonial evidence, violate
is Sixth Amendment protections as provided for in Miranda. This question, although easily

amed, is not so easily answered.

If, Sixth Amendment violations exist when the government, after the accused has invoked
s right to counsel, “deliberately elicits incriminating statements" [U S. v. Henry, 447 U.S, 264

980)], then it would logically follow that the testimonial evidence forcibly obtained at the time

off his arrest would have been suppressed by operation of the Defendant's Sixth Amendment
protections as well as his Fifth Amendment rights and privileges. Accordingly, the lower Court's

reliance, on the "first set of photos” as justification for the second set, is equally misguided.

That "no person shail be compelled in a criminal case to be a witness against himself and

shat the accused shail...have the assistance of counsel" are rights that were “fitted in our

pnstitution after centuries of persecution and struggle and were secured for ages to come,,.

32

designed to approach immortality as nearly as human institutions can approach it." Cohens vy.

Commonwealth of Virginia, 6 Wheat. 264, 387 (1821). In this case, what was thought to be

ehshrined with the "impregnability of a constitutional enactment" has been marginalized and

ietly dispatched. Brown v. Walker, 161 U.S. 591, 596-597 (1896). Therefore, the Defendant

intends that there exists ample reason to disqualify the criminal conviction a dispositive of the
issues raised herein.
The question now becomes: can any trial so tainted with pervasive constitutional error be

illed a fair one. The Fourteenth Amendment's free standing right to a fair trial was a casualty

State was willing to accept in order to obtain a conviction and the Appellate Courts were
ling to overlook in order to preserve one.

Historically, the Supreme Court has repeatedly concluded that there exists a class of

nstitutional rights so basic to a fair trial that their infraction can rarely be treated as harmless

or. Chapman v. California, 386 U.S. 18, 2/, 23 (1967). Among these sacrosanct privileges are

the Fifth Amendment's right to remain silent, protection against coerced self incrimination and the
Sixth Amendment's right to counsel, all of which are the subject of this Petition.

Since the commencement of this criminal proceeding there has been a pervasive pattern of

cuses, justifications, and rationalizations, seemingly engineered to deprive the Defendant the

damental protections enunciated in the Bill of Rights. Perhaps, this was the result of the
fendants unpopular beliefs or maybe the by-product of notoriety or even the political pressures
% invaded the trial. Whatever the source, the belief that Defendant was not entitled to
constitutional protection metatastisized.

In Chapman, supra, this Court concluded by remarking “such a machine gun repetition of a

denial of constitutional rights, can no more be considered harmless then the introduction against

33

a Defendant of a coerced confession. "Id. 26. By application of this standard to the facts of this
case, the standard that a litigant be provided a “Yair opportunity” to litigate has not been

observed.

Questions regarding the admissibility of evidence
Relating to body markings are properly before the

Court.
In their memorandum of law the Plaintiffs’ rely almost exclusively on the New York Court
of Appeals’ description of the tattoos that appear on Defendant, Christopher Slavins’ body.
Importantly, in the decision relied upon by the Plaintiffs’, the dissent points out that aside from
this illegitimate and irrelevant evidence the record was devoid of any evidence vis a vis a racial

or religious motive [People v. Slavin, 1 N.Y.3d 392 (2004)].

Now Plaintiffs’ seek to contaminate this tribunal with the same evidence. Defendant

ibmits that based upon the following arguments the evidence should be precluded as a matter of

In answer to Plaintiff's assertion vis a vis relevancy it is submitted that despite placing
portance on the tattoos as admissions or statements” (conceding their communicative value

id testimonial nature) Plaintiffs’ argument provides compelling support for Defendant’s trial
ntention that there is no theory available that permits the introduction of this evidence. If it is
sumed arguendo that a tattoo is a “statement made contemporaneous with its application” (the
ory relied upon by the Court of Appeals) how then can a statement made seven (7) or even
(10) years prior to the crime date, not be considered temporally remote and therefore irrelevant.
Likewise, they (the tattoos) are also “logically remote” and as such are irrelevant [Tof v. U.S.,

3119 U.S. 463 (1943).

34

By conceding the images in question are communicative and testimonial statements, the

aintiffs, aside from squarely implicating Defendant’s Fifth Amendment privilege and Sixth

endment right to counsel, have subjected themselves to Defendant’s “inference within an

inference” reasoning raised at trial and rejected by the Court of Appeals [ U.S. v. Ross, infra].

The logical analysis advanced by Defendant at trial, closely follows ancient law and legal

ory that dates as far back as the mid-1800’s when, by Chief Judge Denio in People v.
pnnedy 32 N.Y. 141, 146 (1865), the New York Court of Appeals held that “circumstantial
idence, I repeat, consists in reasoning from facts that are known or proved, to establish such

are conjectured to exist, but the process is fatally vicious if the circumstances from which we

ek to deduce the conclusion depends itself upon conjecture” (emphasis added).

In People v. Razeziez, 206 N.Y. 249, 270 (1912), the New York Court of Appeals,

a

orrowing from the Supreme Court in U.S. v. Ross, 92 U.S. 281, noted that “they are inferences
‘om inferences, presumptions resting on the basis of another presumption. Such a mode of

yriving at conclusions of fact is generally, if not universally inadmissible. No inference of fact

P

r

ig

7 law is reliable, drawn from premises, which are uncertain. Whenever circumstantial evidence
relied upon to prove a fact, the circumstances must be proved and not themselves

nesumed...it is upon this principle that Courts are daily called upon to exclude evidence as too

pmote for the consideration of a jury” Therefore, the Plaintiffs assertion insofar as relevancy is

c

R

dncerned should be rebuked®, According to Ross, which has been adopted in New York by

zeziez, the photos should have been excluded as irrelevant. Quite simply, in order to arrive at

th conclusion that the tattoos are relevant, three separate and distinct inferences must be made.

First, one must infer that the motive behind being tattooed was, to the exclusion of all other

a

It should be noted that throughout the Plaintiff's submission the terms “motive” and “intent” are
used interchangeably. This, | submit, is a dangerous proposition.

35

cciiwisiuminmee

oO

planations, the self identification with certain supremacist ideologies as opposed to say gang
mbership, peer pressure, drunkenness or even a temporary and passing fascination with an
outlaw counter culture.” One must then infer that the ideology, one arbitrarily assigned by the

Plaintiff, somehow provides motive and intent for an act that occurred at least twelve years later.

Then one is asked, by yet a third inference, to assume that Plaintiff still subscribes to the
purported beliefs that form the basis of the first inference. This “inference within an inference”
sgenanio and renders the conclusion that the tattoos demonstrate motive and intent pure
speculation and, as a result thereof, the evidence is irrelevant [U.S. v. Ross, 92 U.S. 281 (1875).
WHEREFORE, the Court should deny the motion in is entirety together with such other
and further relief as this Court deems just, proper and equitable under the circumstances.

DATED: December 28, 2004 Respectfully Submitted,
Huntington, New York

ROBERT J. DEL COL, ESQ.
34 Dewey Street

Huntington, New York 11743

” On point is that the expert, named by Plaintiff, testified as to reasons other than those attributed to
the Defendant for the existence of these tattoos.

36

Case 2:01-cv-06201-SJF-JO Document 129 Filed 01/03/05 Page 36 of 63 PagelD #: 115

COUNTY COURT : SUFFOLK COUNTY

-apasist -

CHRISTOPHER SLAVIN and
RYAN D. WAGNER,

moore =X
THE PEOPLE OF TITHE STATE OF N EW YORK,
INDICTMENT
Case Number 2452-A/B-00
Defendants.
_- x

Vie

VF

COUNT ONE:
DEGREE

COUNT TWO:
DEOREL

COUNT TORIEE:
COUNT FOUR:

COUNT FIVE:
SECOND DEGREE *

COUNTSIA:
SECOND DEGREE -

ATTEMPTED MURDER IN THE SECOND
ATTEMPTED MURDER IN THE SECOND

ASSAULT IN THE FIRST bprcrre
ASSAULT IN THE SECOND DIGRIE

AGGRAVATED HARASSMENT IN ‘THES

AGGRAVATED HARASSMENT UN THE

a se -
Coy peels 7) : KER

PAMIZLA M. BOROCK
FOREPERSON

BETTY ANN CAPUTO
ACTING POREPERSON
OCTORERANOVEMBER, 2000, GRAND JURY LB DISFRICT ATTORNEY

TERM X14

JAMES M. CATTERSON, JR.

SUFFOLK COUNTY
Case 2:01-cv-06201-SJF-JO Document 129 Filed 01/03/05 Page 37 of 63 PagelD #: 116

COUNT ONE
THE GRAND JURY OF SUFFOLK COUNTY, by this indiclutent, accuse the

defendants, CHRISTOPHER SLAVIN and RYAN D. WAGNER, of the crime of Attempted

Murder in the Second Degree, commuitled as Follows:

The defendants, each acting in concert with the other person, on or about September 17,

2000, in Suffalk County, New York, wilh infent fo cause the death of Isracl Perez Arvizu, dict
allempt to cause his death,
COUNT TWO
TTI GRAND JURY OF SUFFOLK COUNTY, by this indictment, accuse the

defendants, CHRISTOPHER SLAVIN and RYAN D. WAGNER, of the crime of Atlempted

Murder in the Second Degree, conmiltcd as follows:
The defendants, each acting in concert will the olfer person, on ar abou! Sepleniber #7,

2000, in Suffolk Counly, New York, with intent to cause the death of Magdeleno Estyada

liscamitla, did allempt to cause his deatle.

COUNT TUIRET

THE GRAND JURY OF SUFFOLK COUNTY, by this Indictment, accuse lhe defendants,
CHRISTOPHER SLAVIN and RYAN D. WAGNER, of the crime of ASSAULT LN PELE FIRST
DEGREE, committed as follows:

The defendants, cach aiding the oter, and acting in concert with each other, on of about
September £7, 2000, in Suffolk County, wilh intent to cause serious physical injury to Isracl Perez

Arvizu, caused such injury by means of a dangerous instrument.
Case 2:01-cv-06201-SJF-JO Document 129 Filed 01/03/05 Page 38 of 63 PagelD #: 117

COUNT FOUR
THE GRAND JURY OF SUFFOLK COUNTY, by this indictment, accuse [he defenclants
CHRISTOPIER SLAVIN aud RYAN PD. WAGNER of the crine of ASSAULT IN "THE
SECOND DEGREE, committed as follows:
‘The defendants, cach aiding the other, and acting in concert with cach otfter, on or about

September t7, 2000, in Suffolk County, with iment to cause physical injury to Magdeleno Estrada

fiscamilla, caused such injury by means of a dangerous instrument.

COUNL FIVE
‘THE GRAND JURY OF SUFFOLK COUNTY, by this Indictment, accuse the defendants,
CHRISTOPHER SLAVIN aid RYAN D. WAGNER, of the crime of AGGRAVATED
HARASSMENT IN ‘VILE SECOND DEGREE, conunglled ais follows:
The defendants, cach aiding the other, and acting in concert with cach ather, on or abaul
September 17, 2000, in Suffolk County, with intent ty harass, amnoy, threaten or afar tsract Perez,
Arvizu, struck, shoved, kicked oe otherwise subjected Isracl Perez, Arvizu, to ph ysical comluel, or

allempted or threatened to de the same because of his race, color, tefigion or national ovfgin.
Fo arcana 5

Case 2:01-cv-06201-SJF-JO Document 129° Filéd 01/03/05 Page 39 of 63 PagelD # 118

COUNT SLX
THE GRAND JURY OF SUFFOLK COUNTY, by this lidictment, accuse the defendant,
CHUIUSTOLHER SLAVIN am! RYAN D. WAGNER, of the crime of AGGRAVATED
HARASSMENT IN THE SECOND DEGREE, convnilled as Follows:
The defendants, cach aidiag the ollicr, and acting in concert with cach other, oa or about
Seplember 17, 2000, in Suffolk County, wilh intent to harass, annoy, threaden or alarm Magdeleno
stead Jiscamilla, struck, shoved, kicked or otherwise subjected Magueleno Estrada Escanuilfa, lo

pliysical contact, or allenipled or (breatened to do the sume because of his race, colar, refigion or

national origin.
Case 2:01-cv-06201-SJF-JO Document 129 Filed 01/03/05 Page 40 of 63 PagelD #: 119

a .
.

Lxybit
r a
480) Summons ir.g Civil Actlon . a : : 8

CLERK

’ . + ener Sheed 4 pe
: - U.S. DISTRICT COURT
United States Histrict Coan"
. EASTERN DISTRICT OF eee -+tir 33
ISRAEL PEREZ, MAGDALENO ESTRADA ESCAMILLA, oh T3353

on behalf of themselves and all other Mexican/Chicano
Day Laborers and/or Latino Day Laborers similarly

situated, plaintiffs SUMMONS IN‘A CIVIL ACTION

. . CASE NUMBER:
POSSE COMITATUS, SHERINE'S POSSE COMITATUS,
AMERICAN PATROL, THE CREATIVITY MOVEMENT, ©.
NATIONAL ALLIANCE, SACHEM QUALITY OF LIFE, INC.,
WORLD CHURCH OF THE CREATOR, CHIRSTOPHER SLAVIN
and RYAN WAGNER, ,

Defendants

TO? (Name and Address of Dafandant} v

SEE ATTACHED LIST OF DEFENDANTS LABELED ADDENDUM

YOU ARE HEREBY SUMMONED and required to file with the Clerk of this Court and serve upon -

PLAINTIFF'S ATTORNEY (name and address) ‘ .
LAW OFFICES OF FREDERICK K. BREWINGTON
Clinton Street, Suite 501
Hempstead, New York 11550

an answer to the complaint which is herewith served upon you, within — 20 days after service of
this summons upon you, exclusive of the day of service. If you fall to do so, judgment by default will be taken
against you for the rellef demanded in the complaint.

ROBERT ¢. HEINEMA
SEP 17 2001

CLERK DATE

BY DEPUTY CLERK

ADDEMDUM TO SUMMONS

1, POSSE COMITATUS, P.O. Box 321 Ulysses, Pennsylvania, 16948. Said association's telephone
number is 814-848-7945,

2. SHERIFF’S POSSE COMITATUS, P.O. Box 321 Ulysses, Pennsylvania, 16948. Said association's
telephone number is 814-848-7945,

3. AMERICANPATROL is an unincorporated association composed of white persons, which advocates
hatred and intolerance against immigrants and day laborers. It has been active on Long Island and has a close
association with Sachem Quality of Life, another defendant to this action. The American Patrol is and at all times
complained of 13547 Ventrua Blvd., Suite 163, Sherman Oaks, CA 91423. Said association’s telephone number is (818)
501-2061,

4, THE CREATIVITY MOVEMENT P.O. Box 2002, East Peoria, IL 61611. Said association’s phone
number is (309)-699-0135, The CREATIVITY MOVEMENT maintains its local chapter business addresses in the State
of New York at P.O. Box 511, New York, NY 10116-0511, at P.O. Box 4162, New York, NY 10185, and at P.O. Box
843, Sleepy Hollow,NY 10591. 5. NATIONAL ALLIANCE POB 90, Hillsboro, WV 24946. The NATIONAL
ALLIANCE’s phone numbers are (304) 653-4707 and (304)-653-4600.

6. SACHEM QUALITY OF LIFE , INC., P.O. Box 767, Farmingville, New York 11738. Said
association’s phone muraher is (631)-480-7124.

7. WORLD CHURCH OF THE CREATOR, P.O. Box 2002, East Peoria, IL 61611. The WCOTC’s
phone number is (309)-699-0135. The WCOTC maintains the business addresses of its loca] chapters in the State of
New York at P.O, Box 511, New York, NY 10116-0511, atP.O, Box 4162, New York, NY 10185, and at P.O. Box 843,
Sleepy Hollow, NY 10591.

8. CHRISTOPHER SLAVIN, Hicksville, New York

9. RYAN WAGNER, Maspeth, New York
CLERK
saleT COURT
US Oren! DISTRICT

_ UNITED STATES DISTRICT COURT DE HEW YORK

EASTERN DISTRICT OF NEW YORK

Xe » Ah
ISRAEL PEREZ, MAGDALENO ESTRADA ESCAMILLA, 200! SeP 7 Pik 34
on behalf of themselves and all other Mexican/Chicano Day, tiaas op Se
Laborers and/or Latino Day Laborers similarly situated, {

Plaintiffs,
3 ~against- Docket No.
POSSE COMITATUS, SHERIEF’S POSSE COMITATUS, ae :
AMERICAN PATROL, THE CREATIVITY MOVEMENT, SEYBERI, J.

NATIONAL ALLIANCE, SACHEM QUALITY OF LIFE, INC,
WORLD CHURCH OF THE CREATOR,
CHRISTOPHER SLAVIN and RYAN WAGNER,

! Defendants. x \N ALL Ni. °

COMPLAINT FOR MONETARY DAMAGES

Plaintiffs, by and through their attomeys, THE LAW OFFICES OF FREDERICK K.
BREWINGTON, as and for their Complaint against Defendants allege as follows:
PRELMVUNARY STATEMENT

1. This action is brought on behalf of plaintifis, ISRAEL PEREZ (hereinafter “PEREZ”)
and MAGDALENO ESTRADA ESCAMILLA (hereinafter “ESCAMILLA”), all Mexican/ Chicano
Day Laborers and/or Latino Day Laborers similarly situated. Plaintiffs PEREZ and ESCAMILLA,
were attacked and seriously injured by the violent acts of defendants on the morning of September
17, 2000. Individual defendants and each on¢ of them, supported, advocated, conspired, mislead,
trapped and tured plaintiffs PEREZ and ESCAMILLA to an isolated warehouse. Along with the
use of force, violence, weapons, and other nnlawful means, the individual defendants brutally
attacked PERBZ and ESCAMILLA and have created and will continue to create an imminent threat
of violence against Mexican/Chicano and Latino immigrants, in particular PLAINT TFFS, and will
continue to create a climate of fear and intimidation in violation of constitutionally and statutorily
protected rights of PLAINTIFFS,

2. Upon information and belief, anumber of associations, groups and organizations both
incorporated and unincorporated, have provided a support network and have aided, and upon
information and.belief continue to aid, Defendants CHRISTOPHER SLAVIN (hereinafter
“SLAVIN”) and RYAN WAGNER (hereinafter “WAGNER”).in the violation of Plaintiffs’ rights.
These associations, groups and organizations include, but are not limited to, defendants POSSE
COMITATUS, SHERIFF’S POSSE COMITATUS, AMERICAN PATROL, CREATIVITY
MOVEMENT, NATIONAL ALLIANCE, SACHEM QUALITY OF LIFE, INC. and WORLD
CHURCH OF THE CREATOR. These associations, groups and organizations all of which promote
hatred and intolerance against immigrants and day laborers, upon information and belief, provided
DEFENDANTS SLAVIN and WAGNER with support and assistance, both material and ideological.

3. Individually PLAINTIFFS seek compensatory and punitive damages for injuries
resulting from the unlawful, intimidating and violent acts of defendants which resulted in the
deprivation of their constitutional and statutory rights, and such other relief as is necessary to ensure
that their constitutional and statutory rights and those of other users of the streets, by-ways, and
public areas of the State of New York, are not further violated by defendants.

JURISDICTION

A, Jurisdiction of this Court is invoked, under the First, Thirteenth, and Fourteenth
Amendments to the Constitution of the United States, pursuant to Title 28 United States Code
(hereinafter U.S.C.) § 1331 and § 1343, Title 28 U.S.C. § 1651, and Title 42 U.S.C. §§ 1981, 1985,
1986 and 1988. Plaintiffs further invoke the pendent jurisdiction of the Court to consider claims
arising under the constitution and laws of the State of New York.

PARTIES

5. ISRAEL PEREZ and MAGDALENO ESTRADA ESCAMILLA (hereinafter
mutually referred to as “Plaintiffs”) are, and were, at all times complained of, Mexican/Chicano Day
Laborers, residing in or around the Village of Farmingville, County of Suffolk, State of New York.

6. Plaintiffs’ class are all.similarly situated Mexican/Chicano and/or Latino Day

Laborers who seek to be protected, and be shielded from future wrongful, violative, improper,
violent and criminal actions at the hands ofpersons and associations, groups and organizations such

as defendants.

7. Upon information and belief, POSSE COMITATUS is an unincorporated association
composed of white persons which advocates race hatred, religious intoleraxice, white supremacy
against Black people, Hispanics, and various minorities and religious groups. THE POSSE
COMITATUS advocates hatred and intolerance against immigrants. Upon information and belief,
the POSSE COMITATUS is and at all times complained of maintaining a business address at Fosse
Comitatus, P.O. Box 321 Ulysses, Pennsylvania, 16948. Said association’s telephone number is 814-
848-7945,

&. Upon information and belief, SHERIFF’S POSSE COMITATUS is an
unincorporated association composed of white persons which advocates race hatred, religious
intolerance, white supremacy against Black people, Hispanics, and various minorities and religious
groups. SHERIFF’S POSSE COMITATUS advocates hatred and intolerance against immigrants,
Upon information and belief, the SHERIFF’S POSSE COMITATUS is, and at all times complained
of, maintaining a business address at Sheriff's Posse Comitatus, P.O. Box 321 Ulysses,
Pennsylvania, 16948, Said association’s telephone mumber is 814-848-7945.

9. Upon information and belief, defendant AMERICAN PATROL is an unincorporated
association composed of white persons, which advocates hatred and intolerance against immigrants
and day laborers. It has been active on Long Island and has a close association with Sachem Quality
of Life, another defendant to this action. The’ American Patrol is and at all times complained of,
maintaining a business address at 13547 Ventura Boulevard, Suite 163, Sherman Oaks, California
91423. Said telephone number is 818-501-2061.

10. Uen information and belief, Defendant THE CREATIVITY MOVEMENT is an
unincorporated association composed of white persons, which advocates race hatred, religious
intolerance, and white supremacy against Black people, Hispanics, and various minority and

religious groups. The CREATIVITY MOVEMENT also advocates hatred and intolerance against
immigrants, describing immigration as a‘““Third World Invasion’... from Black, Brown, and Yellow
countries.” Said association is closely linked to the World Church of the Creator, another party to
this action. The CREATIVITY MOVEMENT has chapters throughout the United States and in the
State of New York. The CREATIVITY MOVEMENT is, and at all times complained of,
maintaining its “World Headquarters” business address at P.O. Box 2002, East Peoria, IL 61611.
Said dssociation’s phone number is (309)-699-0135. The CREATIVITY MOVEMENT maintains
its local chapter business addresses in the State of New York at P.O. Box 511, New York, NY
10116-0511, at P.O. Box 4162, New York, NY 10185, and at P.O. Box 843, Sleepy Hollow, NY
10591.

‘Li, Upon information and belief, NATIONAL ALLIANCE is an unincorporated
association composed of white persons which advocates race hatred, religious intolerance, and white
supremacy against Black people, Hispanics, and various minorities and religious groups. THE
NATIONAL ALLIANCE advocates hatred and intolerance against immigrants. THE NATIONAL
ALLIANCE describes itself as “the nation’s pre-eminent White Nationalist organization.” The
NATIONAL ALLIANCE is, and at all times complained of, maintaining a business address at POB
90, Hillsboro, WV 24946. The NATIONAL ALLIANCE?’s phone numbers are (304) 653-4707 and
(304)-653-4600. |

12. Uponinformation and belief, the SACHEM QUALITY OF LIFE , INC. Hereinafter
“Sachem Quality of Life”) is an incorporated association composed of white persons which
adyocates hatred and intolerance against icomigrants, and in particular, day laborers. Said
association is closely linked with AMERICAN PATROL, another defendant to this action. The
association also works closely with other organizations which advocate white supremacy and
intolerance against various minorities and religions. Among other things, SACHEM QUALITY OF
LIFE refers to the presence of day laborers on Long Island as an “invasion” and advocates the belief
that immigration is part of a Mexican governmental plot to annex United States territories.

SACHEM QUALITY OF LIFE is, and at all times complained of, maintaining a business address

4
at P.O. Box 767, Farmingville, New York 11738. Said association’s phone number is (631)-480-
7124,

13. Upon information and belief, Defendant WORLD CHURCH OF THE CREATOR.
(hereinafter Defendant “WCOTC”) is an unincorporated association composed of white persons,
which advocates race hatred, religious intolerance, and white supremacy against Black people,
Hispatiics, and various minorities and religious groups. The WCOTC also advocates hatred and
intolerance against immigrants, describing immigration as a “Third World Invasion’... from Black,
Brown, and Yellow countries.” Said association, is closely linked to the Creativity Movement,
another party to this action. The WCOTC has chapters throughout the United States and in the State
ofN ew York. The WCOTC is, and at all times complained of, maintaining a business address at P.O,
Box 2002, East Peoria, IL. 61611. The WCOTC’s phone number is (309)-699-0135. The WCOTC
maintains the business addresses ofits local chapters in the State of New York at P.O, Box 511, New
York, NY 10116-0511, at P.O. Box 4162, New York, NY 10185, and at P.O. Box 843, Sleepy
Hollow, NY 10591.

14. Upon Information and belief, defendants CHRISTOPHER SLAVIN (hereinafter
“SLAVIN”) and RYAN WAGNER (hereinafter “WAGNER”) are, and were at all times complained
of herein, white citizens of the United States, residing respectively in or about Hicksville, Long
Istand, New York, and Maspeth, Queens, New York. Defendants are sued individually.

° CLASS ALLEGATIONS

15. Plaintiffs bring this action on their own behalf and, pursuant to Rule 23 (a) and Rule
23 (b) (2) of the Féderal Rules of Civil Procedure, on behalf of the class of all Mexican/Chicano day
laborers of New York, who have been or will be intimidated, discouraged, frightened, and/or
deterred from the exercise of their constitutionally protected rights by the violent actions of the
defendants. In their representative capacities, plaintiffs seek only equitable and injunctive relief for
the class which they represent.

16. ‘This class action is properly maintainable under Rule 23, (b) (2) of the Federal Rules
of Civil Procedure in that the class is so numerous that joinder of all members is impractical: there
are questions of law and fact common to the class: the claims of plaintiffs are typical of the claims
of the class and the named plaintiffs will fairty and adequately. protect the interests of the class.

17. The actions of said defendants will, or have, deprived the PLAINTIFF class of their
First, Thirteenth, and Fourteenth Amendment rights; the right to full and equal benefits of all laws
and p¥oceedings for the security of persons as is enjoyed by white persons as assured by 42 U.S.C.
§1981; equal protection of the laws and of equal privileges and immunities under the law as assured
by the Fourteenth Amendment and by 42 U.S.C. §1985, Asa result, injunctive relief with respect
to the class as a whole is appropriate and necessary.

18. —- Plaintiffs will adequately protect the interests of the class in that they have counsel
who are experienced in litigation of the type herein instituted and who are familiar with the
applicable legal principles.

19. The representative plaintiffs seek relief which is identical and compatible with that
sougat by other members of the class.

STATEMENT OF FACTS

20. Upon information and belief, prior to September 17, 2001 and including all times
thereafter, defendants SLAVIN and WAGNER were subjected to and adopted the influences and.
ideoto gies of POSSE COMITATUS, SHERIFF’S POSSE COMITATUS, AMERICAN PATROL,
THE CREATIVITY MOVEMENT, NATIONAL ALLIANCE, SACHEM QUALITY OF LIFE,
INC. and WORLD CHURCH OF THE CREATOR. Through and by this influence, individual
defendants were encouraged and felt empowered to perform the acts of violence against plaintiffs
which violated the rights set forth herein.

21. During the early morning of September 17, 2000, Defendants CHRISTOPHER
SLAVIN AND RYAN WAGNER agreed, conspired and determined that they would terrorize and
attempt to kill, and otherwise violate the rights of PEREZ and ESCAMILLA and other
Mexican/Chicano Day Laborers.
22. On this early morning, Plaintiffs PEREZ and ESCAMILLA were at their home
located in the Village of Farmingville, County of Suffollc and State of New York.

23. DEFENDANTS came across PEREZ and ESCAMILLA’s roommate and friend,
Marto Mendosa, and informed Mr. Mendosa that they needed some workers:

24, While the DEFENDANTS stayed outside in their grey toned Ford Taums, Mr.
Mendosa entered into the PLAINTIFFS’ home and asked if they wanted to work.

25. The PLAINTIFFS believing the offer to be real, accepted the employment and went
outside to mec? the DEFENDANTS and acknowledge their willingness to work for wages. SLAVIN
and WAGNER had no intentions to pay plaintiffs and were intending for them to perform whatever
services they were to perform without the benefits of wages.

26. At this time, Mr. Mendosa departed to the day laborer area at the 7-Eleven located
nearby. :

27. Plaintiff PEREZ sat behind Defendant SLAVIN and plaintiff ESCAMILLA sat
behind defendant WAGNER.

28. Defendant SLAVIN asked plaintiffs PEREZ and ESCAMILLA ifthey were Mexican.
ESCAMILLA and PEREZ replied in the affirmative.

29. Defendants SLAVIN and WAGNER then asked plaintiffs PEREZ and ESCAMILLA
if they wanted breakfast. The plaintiffs answered in the affirmative.

30. Defendant WAGNER proceeded to drive the car to a Burger King in Farmingville
which was closed upon their arrival.

31. Defendant WAGNER then proceeded to drive the car to the Long Island Expressway,
and exited same at Exit 64.

32. Upon exiting the Long Island Expressway, defendant WAGNER parked the car at
a 7-Eleven, for the purpose of obtaining coffee.

33, Defendant WAGNER and PLAINTIFFS PEREZ and ESCAMILLA entered the 7-
Eleven and purchased coffee while defendant SLAVIN stayed outside the 7-Eleven establishment
in the car.

34, After defendant WAGNER and plaintiffs PEREZ and ESCAMILLA returned to and
entered the car, defendant WAGNER proceeded to drive the.car back towards the Long Island
Expressway.

35, During the drive, the defendants SLAVIN and WAGNER asked the plaintiffs PEREZ
and ESCAMILLA if they liked beer, and they responded “no”.

36. Defendant SLAVIN then proceeded to talk of visiting Cancun, Mexico.

“37 — Plaintiff ESCAMILLA then asked Defendant SLAVIN if it was difficult to obtain
a driver’s license in the United States, he said “not really”. .
38. _ Defendant WAGNER proceeded to exit the Long Island Expressway at exit 63.
39. In furtherance of their intent to violate plaintiffs’ rights, defendants SLAVIN and
WAGNER then took plaintiffs PEREZ and ESCAMILLA to an abandoned building.
40. Defendant WAGNER drove the car along a path beside the building and stopped at
a point where they were no longer able to proceed with the car because of a block in the road.
a 41. Having captured and kidnaped plaintiffs, considering them prey, defendants SLAVIN
/ and WAGNER set into motion their violent actions.

42. Defendant SLAVIN along with plaintiffs PEREZ and ESCAMILLA got out of the
car while Defendant WAGNER parked the car.

43. Plaintiffs PEREZ and ESCAMILLA, along with defendant SLAVIN, walked back
to where defendant WAGNER parked the car. Defendant SLAVIN then proceeded to remove
various tools from said car.

44, Defendant SLAVIN gave plaintiff PEREZ a yellow shovel, and gave ESCAMILLA
another shovel, Defendant SLAVIN then removed a post hole digger from the same vehicle for
himself.

45. After removing the tools from the trunk of the aforementioned vehicle, defendants

Yo

*” gt AVIN and WAGNER, individually and in concert, did unlawfully, intentionally, and did with
malice aforethough! viciously attack, maim and attempted to kill Mexicans and other Latino day
laborers, particularly plaintiffs PEREZ and ESCAMILLA, sought to, and did in violation of the law
and in violation of plaintiffs’ PEREZ and ESCAMILLA’s rights, lured plaintiffs PEREZ and
ESCAMILLA into the basement of the building in order to accomplish their unlawful goals.

46. Defendant WAGNER, using his knowledge of the Spanish language as a ploy, led
the plaintiffs PEREZ and ESCAMILLA to the basement of the building and distracted them by
telling them that he wanted them to move certain mud out of the way. There was no specific
discussion of payment for the work.

47, Defendants SLAVIN and WAGNER left the plaintiffs PEREZ and ESCAMILLA to
perform their supposed work assignment in order to go outside and plan the attack against plaintiffs.

en AB. Approximately 5 minutes after the Plaintiffs began working, the brutal attack began.
_ 49. As Plaintiffs PEREZ and ESCAMILLA were working defendants SLAVIN and
: WAGNER entered the basement.
ue 50. Defendant SLAVIN came behind and viciously struck and hit plaintiffESCAMILLA
: in the back of the head with the post hole digger, swinging the tool against ESCAMILLA’s head.
51. The force with which defendant SLAVIN swung the post hole digger was so great
that it caused plaintiff ESCAMILLA to suffer a blow so severe that he lost consciousness and
caused to suffer severe and permanent injury.
a“ 52. Plaintiff PEREZ became extremely frightened as he thought that plaintiff
ESCAMILLA was dead as a result of defendant SLAVIN’s vicious blow. SLAVIN continued to
repeatedly beat and batter ESCAMILLA with the post hole digger with the intent of ensuring
ESCAMILLA’s death.
a §3. As PEREZ stood in shock and defenseless, watching his unconscious friend being
beaten, defendant WAGNER charged toward him with a sharp knife, the blade of which, measured
at least four or five inches in length. PEREZ, in great fear for his life, began to retreat backwards

as the driver, defendant WAGNER, advanced on him with the knife in a stabbing posture with the
obvious intent of causing the immediate death of PEREZ.

+ ' §4, Asdefendant WAGNER stabbed ai Piaintiff PEREZ with the knife, plaintiff PEREZ,

in an act of desperation and protection, raised his work shovel to shield his body ftom defendant

WAGNER’s vicious armed attack.

co 55, Defendant WAGNER, in acalculated attempt to inure PEREZ and end PEREZ’s life,

cut PEREZ’S right hand, causing him let go of the shovel.

56. Defendant WAGNER then proceeded to cut PEREZ’S left hand as defendant
SLAVIN continued to pummel plaintiff ESCAMILLA.

57, Plaintiff PEREZ suffered severe injury to his hands and wrisi, and suffered a great
loss of blood.

58. In fear forhis life, PEREZ desperately tried to escape from the basement. WAGNER,
in order to prevent plaintiff PEREZ from gaining his freedom, yelled to SLAVIN that PEREZ was
trying to escape. ,

é 59, Defendant WAGNER, with great force, then hit PEREZ then causing him to collapse

” to the ground. Trying to save his life, PEREZ attempted to get up, but was again attacked and hit

e

¢

in the left side of the head with the post digger held by SLAVIN.

60. Fearing imminent death, plaintiff PEREZ cried out for help. PlaintiffESCAMILLA,
who, was beginning to regain consciousness, was awakened by the terror filled screams of PEREZ,
managed to get up and ran after SLAVIN with a shovel, for the purpose of protecting his friend from
certain and impending death.

61. Defendant SLAVIN then fled the scene while defendant WAGNER proceeded to

chase after plaintiff PEREZ with his knife.

62. Plaintiff PEREZ grabbed a stick in order to protect himself from WAGNER and the
threat of the knife.

63. Once again, plaintiff PEREZ then raised the stick in order to shield himself Despite
his desperate efforts, he was ultimately stabbed in the shoulder and wrist by defendant WAGNER.

10
7 PY
fe

é

i gO

Severely wounded, PEREZ dropped the stick and once again yelled, pleading for help.

Ss 64. As WAGNER pursued PEREZ, plaintiff ESCAMILLA, in an attempt to prevent the
continued deadly attack, came over and hit defendant WAGNER in the back with the post hole
digger. WAGNER than fled the scene.

65. Uncertain about the whereabouts of SLAVIN and WAGNER, plaintiffESCAMILLA
helped plaintiff PEREZ get up and the plaintiffs ran toward the Long Island Expressway in search
of assistance.

66. Afterbeing passed and ignored by numerous motorist, plaintiffs eventually were able
to stop a car. In their shock and fear, plaintiffs tried to explain what had happened but because of
the language barrier, the driver could not understand them.

67. Clear to the facts that plaintiffs were victims, the driver of the car called the police
on his cellular phone and waited until the police and ambulance arrived. The police called an
interpreter and plaintiffs PEREZ and ESCAMILLA explained what happened as best as they could
although they were extremely confused and in pain.

68.  Thedefendants acted with intent to prevent plaintifis PEREZ and ESCAMILLA from
exercising their rights; did unlawfully ‘cause serious physical injuries and other harm; and
intimidated the plaintiffs all in violation of constitutionally and statutorily protected rights because
of their race and color of skin.

69. On September 17, 2000 the defendants SLAVIN and WAGNER did swing the
aforementioned shovel and post hole digger repeatedly striking plaintiffs PEREZ and ESCAMILLA,
about their bodies causing serious physical injury. Also, defendant WAGNER stabbed PEREZ with
the aforementioned knife in the shoulder, wrist, and hands causing serious physical injury. Said acts
were intentional and racially motivated.

70. Defendants SLAVIN and WAGNER acted in association and in furtherance of the

aims and goals of anti-immigrant, and anti-day laborer organizations including but not limited to

POSSE COMITATUS, SHERIFF'S POSSE COMITATUS AMERICAN PATROL, THE

1t

soho ba bie
CREATIVITY MOVEMENT, NATIONAL ALLIANCE, SACHEM QUALITY OF LIFE, INC.
and WORLD CHURCH OF THE CREATOR. Each of these groups perpetuated unlawful
ciscriminatory acts and abuse and served as a catalyst and impetus for the actions of the
INDIVIDUAL DEFENDANTS.

"91. -- Upon information and belief, defendants SLAVIN and WAGNER attended POSSE
COMITATUS meetings and acted as instrumentalities and in association with the POSSE
COMITATUS. Additionally, SLAVIN and WAGNER acted with the support of SHERIFF’S
POSSE COMITATUS, AMERICAN PATROL, THE CREATIVITY MOVEMENT, NATIONAL
ALLIANCE, SACHEM QUALITY OF LIFE, INC. and WORLD CHURCH OF THE CREATOR.

72. The INDIVIDUAL DEFENDANTS and ORGANIZATIONS which transform their
rhetoric into violative and illegal, violent, and criminal actions are not protected by the 1

Amendment as they seek to and do violated the rights of plaintifis and the plaintiff class as defined

herein.
AS AND FOR A FIRST COUNT
(42 U.S.C, §§ 1981 and 1985) __
73. Plaintiffs re-allege paragraphs 1 through 72 ofthe Complaint and said paragraphs are
included by reference.

. 74, That defendants SLAVIN and WAGNER did unlawfully intentionally, and did with
a malice aforethought swing said shovels, post hole diggers, and knife at plaintiffs, selecting said
plaintiffs on account of their race and depriving plaintiffs of their First, Thirteenth, and Fourteenth
Amendment rights, and statutory rights pursuant to 42 U.S.C. § 1981 and § 1985, including but not
limited to the fail and equal benefits of all laws and proceedings for the security of persons as is
enjoyed by white persons, of the equal protection of the laws of equal privileges and immunities
under the laws.

75, That by reason of in and in consequence of said assault, the Plaintifis PEREZ and
ESCAMILLA sustained serious bodily injuries with the accompanying pain and were rendered sick,

sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that some

12
of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result thereof,
for some time to were confined to their houses and have required medicines and medical attention,
and have been prevented and will be prevented from pursuing their usual and ordinary activities and
have expended or incurred large sums and will be required to expend or incur further sums for
medical and other attention.

“96,  Thatbyreason ofthe foregoing, the Plaintiffs have been damaged in the sum of Three
Million ($3,000,000.00) Dollars.

AND AS FOR A SECOND COUNT
(42 U.S.C. § 1985)

77. Plaintiffs re-allege paragraphs 1 to 75 of the Complaint and said paragraphs are
included by reference.
78. The actions of the Defendants POSSE COMITATUS, SHERIFF'S POSSE
’ COMITATUS, AMERICAN PATROL, THE CREATIVITY MOVEMENT, NATIONAL
ALLIANCE, SACHEM QUALITY OF LIFE, INC., WORLD CHURCH OF THE CREATOR,
CHRISTOPHER SLAVIN and RYAN WAGNER in conspiring, and in going on the streets,
highways and by ways of the state of New York hiding their true identity and motives, for the
purpose of depriving the Plaintiffs of the equal protection of the laws, and of equal privileges and
jramunities under the laws, were in violation of 42 U.S.C. § 1985(3).
79. The defendants did enter into a conspiracy in violation of 42 U.S.C. § 1985 for the
purpose of either directly or indirectly depriving the members of the class which plaintiffs represent
of their constitutional rights under the First, Thirteenth, and Fourteenth Amendments to the US.
Constitution, and of their statutory rights under 42 U.S.C. § 1981 and §1985 because of the race cr
color of the members of said class.
5 . 80. Thesaid conspiracy of the said defendants, which was entered into for the purposes
of intimidating and creating a climate of fear within the Mexican/Chicano and Latino Communities
of the state of New York, and the aforementioned overt acts in furtherance of said conspiracy, -
deprived plaintiffs and the class which they represent of the same right to peaceably and lawfully
13
traverse the public ways of the state of New York as is enjoyed by white persons in violation of 42
U.S.C. § 1981, the Equal Protection Clause of the Fourteenth Amendment, and the First Amendment
to the United States Constitution; their right to be secure in their persons as guaranteed by the Fifth
and Fourteenth Amendments; their right to be free from badges and incidents of slavery as
guaranteed by the Thirteenth Amendment; their rights under 42 U.S.C. $1981 to be free from assault
and battery motivated by racial prejudice; their rights under 42 U.S.C. § 1985 (3) to be free of
conspiracies for the purpose of depriving them, either directly or indirectly, of the equal protection
of the laws and of equal privileges and immunities under the laws.

£1. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESACAMILLA sustained serious bodily injuries with the accompanying pain and were rendered
‘sick, sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that
some of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result
thereof, for some time to were confined to their houses and have required medicines and medical
attention and have been prevented and will be prevented from pursuing their usual and ordinary
activities and have expended or incurred large sums and will be required to expend or incur further
sums for medical and other attention. .

82, That by reason of the foregoing, the Plaintiffs have been damaged in the sum of
THREE MILLION ($3,000,000.00) DOLLARS.

AND AS FOR A THIRD COUNT
(42 U.S.C. § 1986)

83. Plaintiffs re-allege paragraphs 1 to 80 and said paragraphs are included by reference.
84. That defendants POSSE COMITATUS, SHERIFF'S POSSE COMITATUS,
AMERICAN PATROL, THE CREATIVITY MOVEMENT, NATIONAL ALLIANCE, SACHEM
QUALITY OF LIFE, INC., WORLD CHURCH OF THE CREATOR, CHRISTOPHER SLAVIN
and RYAN WAGNER having knowledge of the aforementioned conspiracy to commit the
aforementioned wrong acts and knowing that said acts were about to be committed, and having
power to prevent or help prevent the commission of same, neglected or refused to do so, and

14
therefore are liable to plaintiffs under 42 U.S.C. § 1986 for all damage which said defendants by
reasonable diligence could have prevented.

85. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESACAMILLA sustained serious bodily injuries with the accompanying pain and were rendered
sick, sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that
some of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result
thereof, for some time to were confined to their houses and have required medicines and medical
attention and have been prevented and will be prevented from pursuing their usual and ordinary
activities and have expended or incurred large sums and will be required to expend or incur further
sums for medical and other attention.

86. That by reason of the foregoing, the Plaintiffs have been damaged in the sum of
THREE MILLION ($3,000,000.00) DOLLARS.

AND AS FOR A FOURTH COUNT
(United States Constitution First, Thirteenth and Fourteenth Amendments)

87. Plaintiffs re-allege paragraphs 1 to 83 and said paragraphs are include i by reference.

88. The defendants POSSE . COMITATUS, SHERIFF’S POSSE COMITATUS,
AMERICAN PATROL, THE CREATIVITY MOVEMENT, NATIONAL ALLIANCE, SACHEM
QUALITY OF LIFE, INC., WORLD CHURCH OF THE CREATOR, CHRISTOPHER SLAVIN
and RYAN WAGNER, by the actions described herein, deprived the Plaintiffs of their right to be
free from the badges and incidents of slavery, protected by the Thirteenth Amendment of the United
States Constitution, and of their right to interstate travel, protected by the Constitution.

89, The actions of the Defendants described herein also deprived the Plaintiffs of their
right to equal protection of the laws, guaranteed by the Fourteenth Amendment.

90. The actions of the Defendants described herein deprived the Plaintiffs of their rights
to free speach, free assembly -and free association, protected by the First and Fourteenth

Amendments of the United States Constitution.

15
$1, The actions of the defendants described herein deprived the plaintiffs of their nght
to be secure in their persons and property as guaranteed by the Fifth and Fourteenth Amendments;
and of their right to personal dignity and integrity, guaranteed by, or implicit in, numerous
provisions of the United States Constitution.

92, That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESACAMILLA sustained serious bodily injuries with the accompanying pain and were rendered
sick, sore, and bruised and sustained, among other injuries, lacerations to their heads and faces, that
some of the said injuries may.be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result
thereof, for some time to were confined to their houses and have required medicines and medical
attention and have been prevented and will be prevented from pursuing their usual and ordinary
activities and have expended or incurred large sums and wiil be required to expend or incur further
sums for medical and other attention.

93. That by reason of the foregoing, the Plaintiffs have been damaged in the sum of
THREE MILLION ($3,000,000.00) DOLLARS.

AND AS FOR A FIFTS COUNT
(New York State Human Rights Law and Civil Rights Law Violations)

94, Plaintiffs re-allege paragraphs 1 to 89 and said paragraphs are included by reference.

oe 95. ‘The actions of the defendants POSSE COMITATUS, SHERIFF’S POSSE

“ COMITATUS, AMERICAN PATROL, THE CREATIVITY MOVEMENT, NATIONAL

ALLIANCE, SACHEM QUALITY OF LIFE, INC., WORLD CHURCH OF THE CREATOR,
CHRISTOPHER SLAVIN and RYAN WAGNER described herein constituted intentional tortuous
invasion of the plaintiffs' rights. In particular, these actions subj ected all or some of the Plaintiffs
to assault, battery, false imprisonment, and the infliction of grave mental distress by extreme and
outrageous conduct against plaintiffs on account and because of their race.

96. Defendants by their aforementioned actions, subjected Plaintiffs to deprivation of
their rights under the Constitution and laws of the State of New York and engaged in violations of
said laws, including but not limited to the following for which Plaintiffs invoke the pendant

16
jurisdiction of the Court:

New York Civil Rights law including, but not limited to §§ 40, 40-C; 40-d; 41; New York
State Executive Law §§ 291; 197.

97. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESACAMILLA sustained serious bodily injuries with the accompanying pain and were rendered
sick, sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that
some of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result
thereof, for some time to were confined to their houses and have required medicines and medical
attention and have been prevented and will be prevented from pursuing their usual and ordinary
activities and have expended or incurred large sums and will be required to expend or incur further
sums for medical and other attention.

98, That by reason of the foregoing, the Plaintiffs have been damaged in the sum of
THREE MILLION ($3,000,000,00) DOLLARS.

AND AS FOR A SIXTH COUNT
(intentional Infliction of Emotional Distress)

99. Plaintiffs re-allege paragraphs | to 93 and said paragraphs are included by reference

» 100. The defendants POSSE COMITATUS, SHERIFF’S POSSE COMITATUS,

. a AMERICAN PATROL, THE CREATIVITY MOVEMENT, NATIONAL ALLIANCE, SACHEM

° QUALITY OF LIFE, INC., WORLD CHURCH OF THE CREATOR, CHRISTOPHER SLAVIN

and RYAN WAGNER acted outrageously for their above-stated roles in the assault, battery, false

imprisonment, and the infliction of grave mental distress by extreme and outrageous conduct upon

Plaintiffs.

i 101, The Defendants knew that their conduct would cause severe and extreme emotional
harm to Plaintiff .

102. Said harm did in fact occur in this case, in that the Plaintiffs were debilitated to the

point where they still suffer from episodes of anxiety, anger, loss of sleep, and other impingement

of the emotional growth process; to the extent that the Plaintiffs are in need of counseling by a

i7
psychiatrist or similar health care provider.

103. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESACAMILLA sustained serious bodily injuries with the accompanying pain and were rendered
sick, sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that
some of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result
thereof, for some time to were confined to their houses and have required medicines and medical
attention and have been prevented and will be prevented from pursuing their usual and ordinary
activities and have expended or incurred large sums and will be required to expend or incur further
sums for medical and other attention.

. 104. By reason of the foregoing, Plaintiffs have been damaged in the sum of THREE
MILLION DOLLARS ($3,000,000.00).

AS AND FOR A SEVENTH COUNT
(Battery).

105. Plaintiffs re-allege paragraphs 1 to 98 and said paragraphs are included by reierence.

106. The defendants SLAVIN and WAGNER lacked any basis to assault, batter, false
imprison, and inflict grave mental distress by extreme and outrageous conduct..

. 107. TheDefendants beat, punched, physically and mentally abused Plaintiffs PEREZ and

“ESCAMILLA and each ofihem, defendants SLAVIN and WAGNER wrongfully used physical force
either directly or indirectly and none of them had permission or authority to batter and abuse the
Plaintiffs at any time. Said actions were intentional and aimed at injuring and causing Plaintiffs
discomfort, humiliation and pain.

108. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESACAMILLA sustained serious bodily injuries with the accompanying pain and were tendered
sick, sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that
some of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result
thereof, for some time to were confined to their houses and have required medicines and medical -
attention and have been prevented and will be prevented from pursuing their usuaj and ordinary

18
activities and have expended or incurred large stuums and will be required to expend or incur further
sums for medical and other attention.

109. By reason of the foregoing, Plaintiffs have been damaged in the sum of THREE
MILLION DOLLARS ($3,000,000.00). :

AS AND FOR A EIGHT COUNT
(Assauit)

110. Plaintiffs re-allege paragraphs 1 to 103 and said paragraphs are included by reference.
111. The Defendants SLAVIN and WAGNER were either directly or indirectly involved
in the beating, punching, physical and mental abuse of Plaintiffs PEREZ and ESCAMILLA without
any justifiable cause, DEFENDANTS wrongfully used physical force and none of them had -
permission or authority to batter and abuse the Plaintiffs at any time. Said actions were intentional
and aimed at injuring and causing Plaintiff discomfort, humiliation and pain.

112. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESCAMILLA sustained serious bodily injuries with the accompanying pain and wererendered sick,
sore, and bruised and sustained, among other injuries, lacerations to their heads and faces; that some
of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result thereof,
for some time to were confined to their houses and have required medicines and medical attention
and have been prevented and will be prevented from pursuing their usual and ordinary activities and
have expended or incurred large sums and will be required to expend or incur further sums for
medical and other attention. .

113. By reason of the foregoing, Plaintiffs have been damaged in the sum of THREE
MILLION DOLLARS ($3,000,000.00).

AS AND FOR A NINTH COUNT
(False Imprisonment)

114. Plaintiffs re-allege paragraphs 1 to 107 and said paragraphs are included by reference.
115. The Defendants SLAVIN and WAGNER were either directly or indirectly involved
in the unlawful detainment beating, punching, physical and mental abuse of Plaintiffs PEREZ and

19
ESCAMILLA without any justifiable cause, DEFENDANTS wrongfully used physical force and
none of them had permission or authority to batter, abuse and falsely prevent the Plaintiffs from
moving about against their own free will at any time. Said actions were intentional and aimed at
injuring and causing Flaintiff discomfort, humiliation and pain, ~

116. That by reason of in and in consequence of said assault, the Plaintiffs PEREZ and
ESCAMILLA sustained serious bodily injuries with the accompanying pain and were rendered sick,
sore, and bruised and sustained, among other injuries, lacerations to theix heads and faces; that some
of the said injuries may be permanent; that Plaintiffs PEREZ and ESCAMILLA, as a result thereof,
for some time to were confined to their houses and have required medicines and medical attention
and have been prevented and will be prevented from pursuing their usual and ordinary activities and
have expended or incurred large sums and will be required to expend or incur further sums for
medical and other attention.
117. Byreason of the foregoing, Plaintiffs have been damaged in the sum of THREE MILLION
DOLLARS ($3,000,000.00).

INJUNCTIVE RELIEF

118. Upon information and belief, Defendants have engaged in a continuing pattern and
practice of unjustifiably harassing, humiliating, assaulting, battering, and other acts and conspiracies
calculated to deprive the Mexican/Chicano Day Laborers and /or Latino Day Laborers similarly
situated of their rights as secured by the First, Thirteenth and Fourteenth Amendments and by 42
U.S.C. §§ 1981, 1985 and 1986, and by the Constitution and the laws of the State of New York, and
will continue to do so unless restrained by this Court.

119. Plaintiffs PEREZ and ESCAMILLA and others similarly situated have no adequate
remedy atlaw. Plaintiffs PEREZ and ESCAMILLA and others similarly situated have suffered and

will continue to suffer irreparable injury because of the unlawful acts of the Defendants.

WHEREFORE, Plaintiffs respectfully request the following relief:

20
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ISRAEL PEREZ, MAGDALENO ESTRADA
ESCAMILLA, on behalf of themselves and all
other Mexican/Chicano Day Laborers and/or
Latino Day Laborers similarly situated,

Plaintiffs,
-against-
CHRISTOPHER SLAVIN AND
RYAN WAGNER,
Defendants.

STATE OF NEW YORK }
tss.
COUNTY OF SUFFOLK  }

JOHN F. RAIO, being duly sworn, says:

AFFIDAVIT OF SERVICE

O! Carr}
J

Docket No.: CV-6201

FILED
IN CLERK'S OFFICE
x U.S. DISTRIC? COURT E.D.NY.

wm JAN G8 7005 *

LONG ISLAND OFFICE

1. I am not a party to the action, am over cighteen (18) years of age, and

reside at Deer Park, New York.

2. On December 30, 2004, I served the within Defendant’s Memorandum
of Law in Opposition to Plaintiffs Motion for Summary Judgment by
depositing a true copy thereof enclosed in a post-paid wrapper, in an
official depository under the exclusive care and custody of the U.S.
Postal Service within New York State, to the address designated

below:

Thomas Liotti, Esq.

600 Old Country Road-Suite 530

Garden City, New York 11530

Frederick Brewington, Esq.
50 Clinton Street-Suite 501
Hempstead, New York 11550

A A
: hm oe
L- f KE / (
/ JOHN. RAIO

Subscribed and Sworn to before me

On December 30,2004 ~
aK) 00s We
Russo

{ sty Commission Expires Sept. 6, 20,0C>

